Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 1 of 28 PageID: 291




                EXHIBIT L
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 2 of 28 PageID: 292

                                                                                                US010786482B2


  ( 12 ) Mosher
         Unitedet alStates Patent                                           ( 10 ) Patent No .:               US 10,786,482 B2
                     .                                                      (45) Date of Patent :                        * Sep . 29, 2020
  ( 54 ) ENALAPRIL FORMULATIONS                                        ( 52 ) U.S. Cl .
                                                                              CPC                A61K 31/401 (2013.01 ) ; A61K 9/0053
  ( 71 ) Applicant: Silvergate Pharmaceuticals, Inc. ,                                        (2013.01 ) ; A61K 970095 ( 2013.01 ) ; A61K
                    Greenwood Village, CO (US )                                                 47/12 (2013.01 ) ; A61K 47/26 (2013.01 )
                                                                       ( 58 ) Field of Classification Search
  ( 72 ) Inventors: Gerold L. Mosher , Kansas City, MO                        CPC       A61K 31/401 ; A61K 47/12 ; A61K 47/26 ;
                    (US ) ; David W. Miles , Kansas City,                                                     A61K 9/0053 ; A61K 9/0095
                    MO ( US )                                                    See application file for complete search history.
  ( 73 ) Assignee : SILVERGATE                                         ( 56 )                    References Cited
                          PHARMACEUTICALS , INC . ,                                      U.S. PATENT DOCUMENTS
                          Greenwood Village, CO (US )
                                                                                4,374,829 A         2/1983 Harris et al .
  ( * ) Notice:          Subject to any disclaimer, the term of this            4,472,380 A         9/1984 Harris et al .
                         patent is extended or adjusted under 35                                      ( Continued )
                         U.S.C. 154 ( b ) by 0 days.
                          This patent is subject to a terminal dis                   FOREIGN PATENT DOCUMENTS
                          claimer .
                                                                       CA                   1275350 C          10/1990
                                                                       EP                   2903690 A1          8/2015
  ( 21 ) Appl . No .: 16 /177,159                                                                     (Continued )
  (22 ) Filed :       Oct. 31 , 2018
                                                                                            OTHER PUBLICATIONS
  ( 65 )                          Prior Publication Data
                                                                       Nahata et al . , “ Stability of elanapril maleate in three extemporane
           US 2019/0070147 A1                Mar. 7 , 2019             ously prepared oral liquids ” , Am . J. Health - Syst . Pharm ., 1998 , vol .
                                                                       55 , pp . 1155-1157 ( Year: 1998 ) . *
                  Related U.S. Application Data                                                       (Continued )
  ( 63 ) Continuation of application No. 16/ 003,994 , filed on        Primary Examiner — Savitha M Rao
         Jun . 8 , 2018 , now Pat . No. 10,154,987 , which is a        (74 ) Attorney, Agent, or Firm Wilson , Sonsini ,
         continuation of application No. 15 / 802,341 , filed on       Goodrich & Rosati , P.C.
         Nov. 2 , 2017 , now Pat . No. 10,039,745 , which is a
         continuation of application No. 15 / 613,622 , filed on       ( 57 )                        ABSTRACT
                                    (Continued )                       Provided herein are stable enalapril oral liquid formulations.
                                                                       Also provided herein are methods of using enalapril oral
  ( 51 ) Int. Cl.                                                      liquid formulations for the treatment of certain diseases
           A61K 31/401                    ( 2006.01 )                  including hypertension , heart failure and asymptomatic left
           A61K 9/00                      ( 2006.01 )                  ventricular dysfunction .
           A61K 47/26                     ( 2006.01 )
           A61K 47/12                     ( 2006.01 )                                 28 Claims , 2 Drawing Sheets
               Enalapril dikctopiperazinc; O Enalaprilat
                   0.6
                                                                                                O
                       0.5
                       0.4
                       0.3

               enaleaprtiel 0.2
               of
               /
               w
               m%
                       0.1
                            0
                                   3                    3.5                 4.                         4.5                            5
                                                                          pH
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 3 of 28 PageID: 293


                                                              US 10,786,482 B2
                                                                   Page 2

                     Related U.S. Application Data                      AAPS American Association of Pharmaceutical Scientists , Prelimi
             Jun . 5 , 2017 , now Pat . No. 9,808,442 , which is a      nary Program , 2011 AAPS Annual Meeting and Exposition, Wash
                                                                        ington , D.C. , Oct. 23-27 , 2011 , 112 pages .
             continuation of application No. 15 /081,603 , filed on     Ahlin et al . Investigation of polymeric nanoparticles as carriers of
             Mar. 25 , 2016 , now Pat. No. 9,669,008 .                  enalaprilat for oral administration . Int’l . J Pharmaceutics 239 : 113
                                                                        120 (2002) .
  ( 60 ) Provisional application No. 62 / 310,198 , filed on Mar.       Allen et al . Stability of alprazolam , chloroquine phosphate, cisapride,
             18 , 2016 .                                                enalapril maleate, and hydralazine hydrochloride in extemporane
                                                                        ously compounded oral liquids. Am J. Health - Syst Pharm 55 :1915
  ( 56 )                     References Cited                           1920 ( 1998).
                                                                        Allen . Lisinopril 1 mg/mL oral liquid US Pharm . 38 ( 2 ) : 36-37
                       U.S. PATENT DOCUMENTS                            ( 2013 ) .
                                                                        Al - Omari et al . Effect of the drug-matrix on the stability of enalapril
           4,510,083 A        4/1985 Blacklock et al .                  maleate in tablet formulations. Journal of Pharmaceutical and
           4,743,450 A         5/1988 Harris et al .                    Biomedical Analysis 25 : 893-902 ( 2001 ) .
           4,793,998 A        12/1988 Murthy et al .                    Bhardwaj et al . Study of forced degradation behavior of enalapril
           4,830,853 A         5/1989 Murthy et al .                    maleate by LC and LC - MS and development of a validated stability
           4,931,430 A        6/1990 Sudilovsky et al .                 indicating assay method . Journal of Pharmaceutical and Biomedical
           5,049,553 A        9/1991 Sudilovsky                         Analysis 46 : 113-120 ( 2008 ) .
           5,698,562   A      12/1997   Mendes et al.
           6,028,222   A       2/2000   Dietlin et al .                 Blowey. Update on the pharmacologic treatment of hypertension in
           6,300,361   B1     10/2001   Vivilecchia et al.              pediatrics. Journal of Clinical Hypertension 14 ( 6 ) , 383-387 ( 2012 ) .
           6,300,362   B1     10/2001   Vivilecchia et al .             Boukarim et al . Preservatives in liquid pharmaceutical preparations.
           6,413,988   B1      7/2002   De                              The Journal of Applied Research 9 ( 1 & 2 ) : 14-17 ( 2009 ) .
           6,509,350   B2      1/2003 Vivilecchia et al.                Bourgault et al . , Reference -based pricing of prescription drugs:
           6,790,861   B2      9/2004 Vivilecchia et al.                exploring the equivalence of angiotensin -converting -enzyme inhibi
           6,869,963   B2      3/2005   Patel et al .                   tors . CMAJ 161 : 255-60 ( 1999 ) .
           6,977,257   B2     12/2005   Parab et al .
           7,101,888   B2      9/2006   Reo et al .                     Brilla et al . , Lisinopril-Mediated regression of myocardial fibrosis
           7,605,148   B2     10/2009   Batta et al .                   in patients with hypertensive heart disease. Circulation 102: 1388
           8,153,824   B2      4/2012   Sesha                           1393 (2000).
           8,568,747   B1     10/2013 Rajewski et al .                  Cabot Corporation, “ Influence of CAB - O - SIL® M - 5P on the Angle
           8,778,366   B2      7/2014 Rajewski et al .                  of Repose and Flow Rates of Pharmaceutical Powders , ” 10 pages
           8,927,028   B2      1/2015 Grenier et al .                   ( 2004 ) .
           9,463,183   B1     10/2016 Mosher et al .                    Calabro et al . Hemodynamic effects of a single oral dose of enalapril
           9,669,008   B1      6/2017 Mosher                            among children with asymptomatic chronic mitral regurgitation .
           9,808,442   B2     11/2017 Mosher                            American Heart Journal 138 ( 5 , Pt . 1 ) : 955-961 ( 1999 ) .
           9,855,214   B2      1/2018 Rajewski                          Definition of Hypertension ( 1 page) retrieved from : http : //medical
            9,968,553 B1       5/2018 Rajewski                          dictionary.thefreedictionary.com/hypertension ( 2008 ) .
           10,039,745 B2       8/2018 Mosher                            Delucchi et al . , “ Enalapril and prednisone in children with nephrotic
   2004/0171669        Al      9/2004 Chenevier
   2004/0258757        Al     12/2004 Bosch et al .                     range proteinuria , ” Pediatric nephrology ( Berlin , Germany) ( 2000 ) ,
   2006/0094760        A1      5/2006 Fawzy et al .                     14 ( 12 ), 1088-91 , Database : Medline .
   2006/0121066        A1      6/2006 Jaeger et al .                    Drug Information on Enalapril ( 3 pages ) , 2001. retrieved from :
   2007/0265344        A1     11/2007 Strobel et al .                   http://www.accessdata.fda.gov/drugsatfda_docs/nda/2001/18-9985058_
   2008/0221156        A1     9/2008 Spireas                            Vasotec.cfm .
   2008/0234291        A1      9/2008 Francois et al .                  drugs.com . Enalapril Tablets Soluble. Website [ online] . [ available
   2009/0269287        Al     10/2009 Berta                             online May 9 , 2010 ] [ retrieved on Jan. 16 , 2014 ], 11 pages .
   2010/0222334
   2011/0003798
                       A1
                       A1
                               9/2010 Talamonti et al.
                               1/2011 Okram et al .
                                                                        Retrieved from the Internet < URL : https://web.archive.org/web/
   2014/0100260        A1     4/2014 Rajewski et al.                    20100509220009/http ://www.drugs.com/pro/enalapril-tablets-soluble.
   2015/0148335        A1      5/2015 Bova et al .                      html > . Enalapril Tablets Soluble - Clinical Pharmacology ; Indica
   2015/0258027        Al      9/2015 Rajewski                          tions and Usage for Enalapril Tablets Soluble ; Enalapril Tablets
   2017/0266159        Al      9/2017 Mosher et al .                    Soluble Dosage and Administration .
                                                                        Glass et al . Stability considerations in liquid dosage forms extem
                  FOREIGN PATENT DOCUMENTS                              poraneously prepared from commercially available products. J
                                                                        Pharm Sci 9 ( 3 ) : 398-426 ( 2006 ) .
  WO              WO - 9814196 A1         4/1998                        Gulf Cooperation Council . The GCC Guidelines for Stability Test
  WO              WO - 9930690 A1         6/1999                        ing of Drug Substances and Pharmaceutical Products. Publication
  WC            NO - 1999030690           6/1999                        [ online ] . Edition Two, 1428 H - 2007 G [available online Jul. 2011 ]
  WO               WO - 0145667 A2        6/2001                        [retrieved on Feb. 3 , 2014 ] . Retrieved from the Internet < URL :
  WO             WO - 02089775 Al        11/2002                        https://web.archive.org/web/20110726040053/http://www.ich.org
  WO           WO - 2007070843    A2      6/2007                        fileadmin /Public_Web_Site /ABOUT_ICH /Organisation /GCC / T opics
  WO
  WO
               WO - 2009116078
               WO - 2011031462
                                  A2
                                  A2
                                          9/2009
                                          3/2011
                                                                        under_Harmonisation /Stability.pdf > . p . 22 , 2.9 .3 ; p . 25 , 2.9.7 .
  WO           WO - 2011128783    A2     10/2011
                                                                        Handbook of Pharmaceutical Excipients , Fifth edition , edited by
  WO           WO - 2012085249 A2         6/2012
                                                                        Raymond C. Rowe et al . , London : Pharmaceutical Press , 2006 ,
  WO           WO - 2014055667 Al         4/2014                        (monographs for citric acid monohydrate, sodium benzoate, sodium
  WO           WO - 2014178065 Al        11/2014                        citrate , sodium hydroxide, and xylitol), 23 pages .
  WO           WO - 2017161339 A1         9/2017                        Harris, Daniel C. Exploring Chemical Analysis, 4th edition . New
                                                                        York : W.H . Freeman and Company, 2009 ( Chapters 8,9,21 and 22 ) ,
                                                                        105 pages.
                           OTHER PUBLICATIONS                           Hensel et al . Transesterification reactions off parabens ( Alkyl
                                                                        4 -Hydroxybenzoates ) with polyols in aqueous solution . J Pharm Sci
  Parish , “ How do salt and sugar prevent microbial spoilage ? ” ,     84 ( 1 ) : 115-119 ( 1995 ) .
  Scientific American, 2006 https://www.scientificamerican.com/         Hsu et al . Enalapril in Infants With Single Ventricle: Results of a
  article /how -do -salt-and - sugar -pre! ( Year: 2006 ). *            Multicenter Randomized Trial. Circulation 122 ( 4 ): 333-340 ( 2010 ) .
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 4 of 28 PageID: 294


                                                                   US 10,786,482 B2
                                                                               Page 3

  ( 56 )                     References Cited                                       PCT Patent Application No. PCT/US2016 /059348 International
                                                                                    Search Report and Written Opinion dated Jan. 3 , 2017 .
                       OTHER PUBLICATIONS                                           PCT Patent Application No. PCT/US2017 /023074 International
                                                                                    Search Report and Written Opinion dated Jun . 16 , 2017 .
  Hsu et al . Rationale and design of a trial of angiotensin - converting           Product Information of Bicitra , “ Sodium Citrate and Citric Acid
  enzyme inhibition in infants with single ventricle. American Heart                Oral Solution USP . ” 2 pages.
  Journal 157 ( 1 ) : 37-45 ( 2009 ) .                                              Product Information of Ora - Sweet( 1 page, 2013 ) retrieved from ,
  Kalaitzidis et al . Prehypertension: is it relevant for nephrologists?            http://www.stobec.com/documents/data/8196.pdf.
  Kidney International 77 : 194-200 ( 2010 ) .                                      Proesmans et al . , “ Enalapril in children with Alport syndrome,”
  Li et al . Lessons learned from a pediatric clinical trial: The Pediatric         Pediatric nephrology ( Berlin , Germany) ( 2004 ) , 19 ( 3 ) , 271-5 , Data
  Heart Network Angiotensin - Converting Enzyme Inhibition in Mitral                base : Medline .
  Regurgitation Study. American Heart Journal 161 ( 2 ) : 233-240 ( 2011 ) .        Proesmans et al ., Long - term therapy with enalapril in patients with
  Lima et al . , “ Stability and in vitro release profile of enalapril              nephrotic - range proteinuriam , Pediatric nephrology (Berlin, Ger
  maleate from different commercially available tablets: Possible                   many ) ( 1996 ) , 10 ( 5 ) , 587-9 , Database: Medline .
  therapeutic implications, ” Journ . Pharmac . and Biomed . Analysis,              Prosemans et al ., " Enalapril in pediatric patients with Alport syn
  47 , pp . 934-937 ( 2008 ) .                                                      drome: 2 years ' experience,” European Journal of Pediatrics ( 2000 ) ,
  Lipshultz , " Exposure to anthracyclines during childhood causes                  159 ( 6 ) , 430-433 . Database: CAPLUS , DOI : 10.1007/ s004310051301 .
  cardiac injury ,” Seminars in Oncology ( 2006 ) , 33 ( 3 , Suppl. 8 ) ,           Raia, et al . , Angiotensin - converting enzyme inhibitors : A Compara
  S8 - S14 . , Database: CAPLUS , DOI: 10.1053 /j.seminoncol.2006.04.               tive review . DPIC , The Annuals of Pharmacotherapy, 24 : 506-525 ,
  019 .                                                                             1990 .
  Ma et al . , HPLC and LC - MS studies of the transesterification                  Ramusovic et al . , “ Determination of enalapril and enalaprilat in
  reaction of Methylparaben with twelve 3- to 6 - carbon sugar alco                 small human serum quantities for pediatric trials by HPLC - tandem
  hols and propylene glycol and the isomerization of the reaction                   mass spectrometry , ” Biomedical Chromatography ( 2012 ) , 26 ( 6 ) ,
  products by acyl migration. Journal of Chromatograaphic Science ,                 697-702 . Database : CAPLUS , DOI : 10.1002 /bmc.1716 .
  40 ( 3 ) : 170-177 , 2002 .                                                       Rezende et al . , “ Stability and Compatibility Study on Enalapril
  Meyers et al . Pharmacotherapy Review of Chronic Pediatric Hyper                  Maleate Using Thermoanalytical Techniques , ” Journ Thermal Analy
  tension . Clinical Therapeutics ( 2011 ) , 33 ( 10 ) , 1331-1356 . Database :     sis and Calorimetry, 93 : 3 , pp . 881-886 ( 2008 ) .
  CAPLUS , DOI: 10.1016 / j.clinthera.2011.09.003.                                  Rose et al . , Stability of Lisinopril syrup ( 2 mg/mL ) extemporane
  Miller et al . , “ Enalapril : a well - tolerated and efficacious agent for       ously compounded from tablets . Int J Pharm Compd . 4 ( 5 ) : 398-399
  the paediatric hypertensive patient,” Journal ofhypertension . Supple             ( 2000 ) .
  ment : official journal of the International Society of Hypertension              Russell , Craig Allen , Paediatric Drug Development :
  ( 1986 ) , 4 ( 5 ) , S413-6 , Database : Medline .                                Reformulation , In Vitro, Genomic and In Vivo Evaluation . Thesis ,
  Mir et al., “ Effect of carvedilol on QT duration in pediatric patients           Apr. 2014 , 330 pages .
  with congestive heart failure, ” Clinical Drug Investigation ( 2004 ) ,           Schlatter et al., Stability of Enalapril solutions prepared from tablets
  24 ( 1 ) , 9-15 . Database : CAPLUS, DOI : 10.2165/00044011-200424010             in sterile water. Australian J. Hospital Pharmacy, 27 : 395 , 1997 .
  00002 .                                                                           Seikaly. Hypertension in children : an update on treatment strategies.
  Momma, “ ACE inhibitors in pediatric patients with heart failure,”                Current Opinion in Pediatrics, 19 : 170-177 , 2007 .
  Paediatric drugs ( 2006 ) , 8 ( 1 ) , 55-69 , Database : Medline .                Silber et al ., “ Design and baseline characteristics for the ACE
  Nahata et al . Stability of enalapril maleate in three extemporane                inhibitor after anthracycline ( AAA) study of cardiac dysfunction in
  ously prepared oral liquids . Am . J. Health - Syst Pharm 55 : 1155-1157          long -term pediatric cancer survivors,” American Heart Journal
  ( 1998 ) .                                                                        ( 2001 ) , 142 (4 ) , 577-585 . Database : CAPLUS , DOI : 10.1067/mhj.
  Nakamura et al . , “ The kinetic profiles of enalapril and enalaprilat            2001.118115 .
  and their possible developmental changes in pediatric patients with               Silber et al ., “ Enalapril to prevent cardiac function decline in
  congestive heart failure , ” Clinical pharmacology and therapeutics               long -term survivors of pediatric cancer exposed to anthracyclines, ”
  ( 1994 ) , 56 ( 2 ) , 160-8 , Database : Medline .                                Journal of Clinical Oncology ( 2004 ) , 22 ( 5 ) , 820-828 . Database :
  National institutes of Health . ‘ MedlinePius : Hypertension '. Website           CAPLUS , DOI: 10.1200 / JCO.2004.06.022 .
  [ online] . [ available online May 20 , 2012 ] [retrieved on Jan. 16 ,            Simon?i? et al., “ Use of microcalorimetry in determination of
  2014 ] , 5 pages . Retrieved from the Internet < URL :https : //web.archive.      stability of enalapril maleate and enalapril maleate table formula
  org /web /20120520035026 / http : //www.nlm.nih.gov/medlineplus/ency/             tions,” Int'l. Journ . Pharmaceutics, 342 , pp . 145-151 ( 2007 ) .
  article /000468.htm > ,                                                           Sipahi et al . Effect of Antihypertensive Therapy on Incident Stroke
  Nationwide Children's Hospital. ‘ Enalapril Oral Suspension ’ Pub                 in Cohorts with Prehypertensive Blood Pressure Levels : A Meta
  lication [ online ] . Mar. 29 , 2010 [ retrieved on Jan. 14 , 2014 ] , 1 page .   Analysis of Randomized Controlled Trials , Stroke: Journal of the
  Retrieved from the Internet < URL : http : //www.nationwidechildrens.             America ! Heart Association ( online ] , Dec. 8 , 2011 ( retrieved Jan.
  org /Document/Get/ 78785 >.                                                       16 , 2014 ] . 10 pages . Retrieved from the Internet <URL :http : // www .
  Niazi , Sarfaraz K. Handbook of Pharmaceutical Manufacturing                      medpagetoday.com/upload/2011/12/9/Stroke-2011-Sipahi
  Formulations: Liquid Products, vol . 3 , Second edition . New York :              STROKEAHA.111.636829.pdf> .
  Informa Healthcare USA , Inc. , 2009 , 400 pages .                                Sipahi et al . , Effects of normal, pre -hypertensive, and hypertensive
  Nicolosi et al., The prognostic value of predischarge quantitative                blood pressure levels on progression of coronary atherosclerosis, J.
  two -dimensional echocardiographic measurements and the effects                   Am . Coll . Cardiol. 48 , 833-838 , 2006 .
  of early lisinopril treatment on left ventricular structure and function          Garrett. Prediction of stability of drugs and pharmaceutical prepa
  after acute myocardial infarction in the GISSI - 3 trial. European                rations. Journal of Pharmaceutical Sciences 51 ( 9 ) : 811-833 ( 1962 ) .
  Heart Journal, 17 : 1646-1656 , 1996 .                                            Standing et al . Paediatric formulations -Getting to the heart of the
  Novartis AG ( Appellants ) v. Torrent Pharmaceuticals Limited ,                   problem . International Journal of Pharmaceutics ( 2005 ) , 300 ( 1-2 ) ,
  Apotex Inc., Mylan Pharmacuticals Inc., ( Appellees ), No. 2016                   56-66 . Database : CAPLUS .
   1352 , Slip Opinion decided Apr. 12 , 2017 , 27 pages .                          Stanisz, “ Evaluation of stability of enalapril maleate in solid phase,”
  Nunn et al . Formulation of medicines for children . British Journal              Journ . Pharma. and Biomed . Analysis, 31 , pp . 375-380 ( 2003 ) .
  of Clinical Pharmacology, 59 : 6 , pp . 674-676 ( 2005 ) .                        Teva UK , Limited . Enalapril Maleate 2.5 mg , mg, 10 mg and 20
  Packer et al . , Comparative effects of low and high doses of the                 mg Tablets. Product Brochure [ online ] . Mar. 2011 [ retrieved on Jan.
  angiotensin - converting enzyme inhibitor, lisinopril, on morbidity               14 , 2014 ], 8 pages . Retrieved from the Internet: < URL :http ://www .
  and mortality in chronic heart failure. Circulation , 100 : 2312-1218 ,           drugs.com/uk/pdf/leaflet/213793.pdf> . col . 2 , lines 70-76 .
   1999 .                                                                           Thompson et al ., Characterization of an entemporaneous liquid
  Patel et al . , “ Extemporaneous Dosage Form for Oral Liquids,"                   formulation of lisinopril. Am J Health Syst Pharm . 60 ( 1 ) : 69-74
  Pharmacophore, vol . 2 , No. 2 , pp . 86-103 ( 2011 ) .                           ( 2003 ) .
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 5 of 28 PageID: 295


                                                              US 10,786,482 B2
                                                                         Page 4

  ( 56 )                   References Cited                                   Infant Single Ventricle Trial,” The Journal of Pediatrics ( 2011 ) ,
                                                                              159 ( 6 ) , 1017-22.e2 , Database : Medline .
                      OTHER PUBLICATIONS                                      Parish : How do salt and sugar prevent microbial spoilage ?; Scien
                                                                              tific American (2006 ) .
  Tian et al . , Effect of organic anion - transporting polypeptide 1B1       Sosnowska et al .: Stability of Extemporaneous Enalapril Maleate
  (OATP1B1) polymorphism on the single- and multiple -dose                    Suspensions for Pediatric Use Prepared From Commercially Avail
  pharmacokinetics of enalapril in healthy Chinese adult men Clinical         able Tablets; Acta Poloniae Pharmaceutica — Drug Research ; vol .
  Therapeutics, 33 ( 5 ) : 655 ( 2011 ) .                                     66 , No. 3 ; pp . 321-326 ( 2009 ).
  U.S. Appl. No. 13 /670,355 Office Action dated Feb. 8 , 2013 .              U.S. Appl. No. 15 /483,691 Office Action dated Jun . 8 , 2017 .
  U.S. Appl. No. 13 /670,355 Office Action dated Jul. 30 , 2013 .             U.S. Appl. No. 16 /242,898 Office Action dated May 2 , 2019 .
  U.S. Appl. No. 13 /914,452 Office Action dated Aug. 28 , 2013 .             Al -Omari, M.M. et al . , Effect of the drug -matrix on the stability of
  U.S. Appl. No. 14 /433,502 Office Action dated Dec. 29 , 2016 .             enalapril maleate in tablet formulations, J. of Pharmaceutical and
  U.S. Appl. No. 14 /433,502 Restriction Requirement dated Apr. 12 ,          Biomedical Analysis 25 ( 2001 ) 893-902 .
  2016 .                                                                      Casas , Marta et al . , Physicochemical stability of captopril and
  U.S. Appl. No. 14/ 934,752 First Action Interview dated Jan. 25 ,           enalapril extemporaneous formulations for pediatric patients, Pharm
  2016 .                                                                      Dev Technol, 2015 ; 20 ( 3 ) : 271-278 .
  U.S. Appl. No. 14 /934,752 Office Action dated Apr. 26 , 2016 .             European Search Report for EP17767676.4 dated Oct. 8 , 2019 .
  U.S. Appl. No. 15 /081,603 First Action Interview dated Sep. 2 ,            Extended European Search Report dated Feb. 19 , 2016 , for EP
  2016 .                                                                      Application No. 13844343.7 .
  U.S. Appl. No. 15 / 081,603 First Action Interview Office Action            Final Office Action dated Nov. 19 , 2019 for U.S. Appl. No.
  Summary dated Jan. 17 , 2017 .                                              16/242,898 .
  U.S. Appl. No. 15 /268,095 Office Action dated Oct. 13 , 2016 .             International Search Report and Written Opinion dated Jun . 16 ,
  U.S. Appl. No. 15 /433,743 Office Action dated Jun . 5 , 2017 .             2017 for PCT/US17/ 023074 ( WO2017161339 ) .
  U.S. Appl. No. 15 /613,622 Office Action dated Aug. 11 , 2017 .             MC Nahata et al., Stability of enalapril maleate in three extempo
  U.S. Appl. No. 15 / 850,732 Office Action dated Mar. 1 , 2018 .             raneously prepared oral liquids, American Journal of Health System
  U.S. Appl. No. 16 /003,994 Office Action dated Sep. 20 , 2018 .             Pharmacy, American Socieyt of Healthy Systems Pharmacy, US ,
  U.S. Appl. No. 15 / 802,341 Office Action dated Apr. 19 , 2018 .            vol . 55 , No. 11 , Jun. 1 , 1998 , pp . 1155-1157 .
  Van Hecken et al . Absence of a pharmacokinetic interaction between         Nationwide Children's Hospital Pharmacy, Columbus, Ohio, Enalapril
  enalapril and frusemide British Journal of Clinical Pharmacology,           Oral Suspension Dosage Form , Mar. 29 , 2010 , XP055291016 .
  1987 , vol . 23 : 84-87 .                                                   PCT/US2013 /63096 International Preliminary Report on Patentabil
  Vasotec ( Enalapril Maleate ) Product Insert ( 2010 ) 5 pages ( Best        ity dated Apr. 7 , 2015 .
  copy available )                                                            PCT /US2013 /63096 International Search Report and Written Opin
  Wang et al . , “ Eudragit E Accelerated the Diketopiperazine Forma          ion dated Feb. 20 , 2014 .
  tion of Enalapril Maleate Determined by Thermal FTIR                        Rippley et al . , " Pharmacokinetic Assessment of an Oral Enalapril
  Microspectroscopic Technique , ” Pharmaceutical Research , vol . 21 ,       Suspension for Use in Children ,” Biopharmaceutics & Drug Dis
  No. 11 , Nov. 2004 .                                                        position 21 : 339-344 ( 2000 ) .
  Webster et al . , The Stability of Lisinopril as an extemporaneous          Sandoz, Limited . Amoxicillin 125 mg/ 5 ml Powder for Oral Sus
  syrup . Int J Pharm Compd. 1 ( 5 ) : 352-353 ( 1997 ) .                     pension. Product brochure [ online] . Jul. 2012 [ retrieved on Jan. 17 ,
  Wells et al . , “ A double -blind, placebo - controlled , dose - response   2014 ] . Retrieved from the Internet < URL :http ://www.drugs.com/
  study of the effectiveness and safety of enalapril for children with        uklpdf /leaflet/ 196044.pdf > ,
  hypertension ,” Journal of Clinical Pharmacology ( 2002 ) , 42 ( 8 ) ,      Silvergate Pharaceuticals, Inc. ( Plaintiff) v . Bionpharma, Inc. (Defen
  870-880 . Database : CAPLUS , DOI : 10.1177 /009127002401102786 .           dant) C.A. No. 1 : 16 - cv - 00876 - SLR ( consolidated ). Bionpharma
  Wells et al ., “ The Pharmacokinetics of Enalapril in Children and          Inc.'s Invalidity Contentions Pursuant to Delaware Default Stan
  Infants with Hypertension , ” J. Clin Pharmacol 41 : 1064-1074 ( 2001 ) .   dard Rule 4 ( d ). Jun . 9 , 2017 , 50 pages .
  Williams et al, “ Factors affecting growth in infants with single
  ventricle physiology: a report from the Pediatric Heart Network             * cited by examiner
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 6 of 28 PageID: 296


  U.S. Patent                Sep. 29 , 2020      Sheet 1 of 2   US 10,786,482 B2




                                                 FIG . 1
     Enalapril diketopiperazine; O Enalaprilat
         0.6
             0.5
             0.4
                                           0 0
             0.3
     enaleaprtiel 0.2
     of
     /
     w
     m%
                                O
             0.1
                                           8
                  0
                        3           3.5                    4.   4.5           5
                                                       pH
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 7 of 28 PageID: 297


  U.S. Patent                      Sep. 29 , 2020      Sheet 2 of 2        US 10,786,482 B2




                                                       FIG . 2


           Enalapril diketopiperazine; O Enalaprilat
                   4.0
                   3.5
                                                                      o
                   3.0
                   2.5
                   2.0
   emnaleaprtiel
   of
   /
   w
   %               1.5
                                               8
                                    O
                   1.0
                   0.5
                   0.0
                         3              3.5                 4             4.5            5
                                                           pH
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 8 of 28 PageID: 298


                                                      US 10,786,482 B2
                                1                                                                        2
               ENALAPRIL FORMULATIONS                                                                -continued
                                                                                              HO .
              CROSS -REFERENCE OF RELATED
                      APPLICATIONS
                                                                    5
     This application is a continuation of U.S. patent applica
  tion Ser . No. 16 /003,994 , filed Jun . 8 , 2018 , which is a                                                             OH
  continuation of U.S. patent application Ser. No. 15 / 802,341 ,                                    Enalaprilat
  filed Nov. 2 , 2017 (now U.S. Pat . No. 10,039,745 , issued
  Aug. 7 , 2018 ) , which is a continuation of U.S. patent 10
  application Ser. No. 15 / 613,622 , filed Jun . 5 , 2017 ( now        Enalapril is currently administered in the form of oral
  U.S. Pat . No. 9,808,442 , issued Nov. 7 , 2017 ) , which is a
  continuation of U.S. patent application Ser. No. 15 /081,603 , obtained, (e.g.
                                                                     tablets      , Vasotec ) or in the form of liquid formulations
  filed Mar. 25 , 2016 ( now U.S. Pat . No. 9,669,008 , issued In addition to the treatmentofofenalapril
                                                                               by reconstitution              powder formulations.
                                                                                                      hypertension , enalapril tablets
  Jun . 6 , 2017 ) , which claims the benefit of U.S. Provisional 15
  Patent Application No. 62 /310,198 , filed Mar. 18 , 2016 , all have     been used for symptomatic congestive heart failure ,
  of which are incorporated herein by reference in their and asymptomatic left ventricular dysfunction .
  entirety.
                                                                                     SUMMARY OF THE INVENTION
              BACKGROUND OF THE INVENTION                           20
                                                                  Provided herein are enalapril oral liquid formulations. In
     Hypertension, or high blood pressure , is a serious health one aspect , the enalapril oral liquid formulation, comprises
  issue in many countries . According to the National Heart ( i ) enalapril or a pharmaceutically acceptable salt or solvate
  Blood and Lung Institute, it is thought that about 1 in 3 thereof (ii ) a sweetener that is sucralose ( iii ) a buffer
  adults in the United States alone have hypertension. Left 25 comprising citric acid ; (iv) a preservative that is sodium
  unchecked , hypertension is considered a substantial risk benzoate ; and (v) water; wherein the pH of the formulation
  factor for cardiovascular and other diseases including coro            is less than about 3.5 ; and wherein the formulation is stable
  nary heart disease , myocardial infarction , congestive heart          at about 5 + 3 ° C. for at least 12 months.
  failure, stroke and kidney failure. Hypertension is classified            In some embodiments , the enalapril is enalapril maleate .
  as primary (essential) hypertension or secondary hyperten- 30 In some embodiments, the formulation further comprises a
  sion . Primary hypertension has no known cause and may be              flavoring agent . In some embodiments, the buffer in the
  related to a number of environmental, lifestyle and genetic            formulation further comprises sodium citrate dihydrate. In
  factors such as stress, obesity , smoking, inactivity and              some embodiments, the amount of enalapril or a pharma
  sodium intake. Secondary hypertension can be caused by                 ceutically acceptable salt or solvate thereof is about 0.6 to
  drug
  renal, orcardiovascular
             surgical interventions
                                  , or system
                          or endocrine by abnormalities
                                              .         in the 35 about 1.2 mg/ml. In some embodiments, the amount of
     A number of antihypertensive drugs are available for         sucralose is about 0.5 to about 0.9 mg /ml. In some embodi
  treating hypertension. Various therapeutic classes of antihy           ments , the amount of citric acid in the buffer is about 0.8 to
  pertensive drugs include alpha - adrenergic blockers, beta      about 3.5 mg /ml. In some embodiments, the amount of
  adrenergic blockers, calcium - channel blockers, hypoten- 40 sodium      citrate dihydrate in the buffer is about 0.1 to about
  sives , mineralcorticoid antagonists, central alpha -agonists , 0.80 mg/ml. In some embodiments, the amount of the
  diuretics and rennin - angiotensin - aldosterone inhibitors sodium benzoate is about 0.2 to about 1.2 mg/ml . In some
  which include angiotensin II receptor antagonists ( ARB ) and embodiments, the amount of enalapril or a pharmaceutically
  angiotensin -converting enzyme ( ACE ) inhibitors . Angio       acceptable salt or solvate thereof is about 10 to about 25 %
  tensin -converting enzyme ( ACE ) inhibitors inhibit angio- 45 ( w / w of solids ) . In some embodiments, the amount of
  tensin - converting enzyme ( ACE ) , a peptydyl dipeptidase sucralose is about 8 to about 18 % ( w / w of solids ) . In some
  that catalyzes angiotension I to angiotension II , a potent embodiments, the amount of citric acid in the buffer is about
  vasoconstrictor involved in regulating blood pressure .         17 to about 47 % ( w / w of solids ) . In some embodiments, the
     Enalapril is a prodrug belonging to the angiotensin          amount of sodium citrate dihydrate in the buffer is about 1
  converting enzyme (ACE ) inhibitor of medications. It is 50 to about 11 % ( w / w of solids ) . In some embodiments, the
  rapidly hydrolyzed in the liver to enalaprilat following oral amount of sodium benzoate is about 12 to about 25 % ( w / w
  administration. Enalaprilat acts as a potent inhibitor of ACE . of solids ) . In some embodiments, the pH of the formulation
  The structural formulae of enalapril and enalaprilat are as is between about 3 and about 3.5 . In some embodiments, the
  follows:                                                        pH of the formulation is about 3.3 . In some embodiments,
                                                                    55 the citrate concentration in the buffer is about 5 mM to about
                                                                         20 mM . In some embodiments, the citrate concentration in
                                                                       the buffer is about 10 mM . In some embodiments, the
                                                                       formulation is stable at about 5 + 3 ° C. for at least 18 months.
                                                                       In some embodiments, the formulation is stable at about
                                                                    60 5 + 3 ° C. for at least 24 months. In some embodiments , the
                                                                       formulation does not contain mannitol. In some embodi
                                 IZ                                    ments, the formulation does not contain silicon dioxide.
                                                                          In one aspect , the enalapril oral liquid formulation , com
                                              HO                       prises (i ) about 1 mg/ml enalapril maleate ; ( ii ) about 0.70
                             Enalapril
                                                                    65 mg /ml of a sweetener that is sucralose ; ( iii ) a buffer com
                                                                       prising about 1.82 mg/ ml citric acid ; (iv ) about 1 mg/ml of
                                                                       a preservative that is sodium benzoate ; and (v ) water ;
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 9 of 28 PageID: 299


                                                       US 10,786,482 B2
                                 3                                                                     4
  wherein the pH of the formulation is less than about 3.5 ; and adult . In some embodiments , the subject is elderly. In some
  wherein the formulation is stable at about 5 + 3 ° C. for at least embodiments, the subject is a child . In some embodiments,
  12 months.                                                         the formulation is administered to the subject in a fasted
     In some embodiments, the formulation further comprises state . In some embodiments, the formulation is administered
  a flavoring agent. In some embodiments , the buffer further 5 to the subject in a fed state . In some embodiments, the
  comprises about 0.15 mg /mL sodium citrate dihydrate. In formulation is further administered in combination with an
  some embodiments, the pH of the formulation is between agent selected from the group consisting of diuretics, beta
  about 3 and about 3.5 . In some embodiments, the pH of the blockers , alpha blockers , mixed alpha and beta blockers ,
  formulation is about 3.3 . In some embodiments, the citrate calcium channel blockers, angiotensin II receptor antago
  concentration in the buffer is about 5 mM to about 20 mM . 10 nists , ACE inhibitors, aldosterone antagonists, and alpha - 2
  In some embodiments, the citrate concentration in the buffer            agonists .
  is about 10 mM . In some embodiments , the formulation is                 Also provided herein are methods of treating prehyper
  stable at about 5 + 3 ° C. for at least 18 months . In some            tension in a subject comprising administering to that subject
  embodiments, the formulation is stable at about 5-3 ° C. for a therapeutically effective amount of enalapril oral liquid
  at least 24 months. In some embodiments, the formulation 15 formulation comprising ( i) about 1 mg/ml enalapril maleate ;
  does not contain mannitol. In some embodiments, the for (ii ) about 0.7 mg /ml of a sweetener that is sucralose ; (ii ) a
  mulation does not contain silicon dioxide .                            buffer comprising about 1.82 mg/ml citric acid and about
       In one aspect , the enalapril oral liquid formulation com 0.15 mg /ml sodium citrate dihydrate; ( iv ) about 1 mg/ml of
  prises (i ) about 19.3 % ( w / w of solids ) enalapril maleate ; (ii ) a preservative that is sodium benzoate ; and (v ) water ;
  about 13.5 % (w/w of solids ) of a sweetener that is sucralose; 20 wherein the pH of the formulation is less than about 3.5 ; and
  ( iii ) a buffer comprising about 35.2 % ( w / w of solids ) citric wherein the formulation is stable at about 5 + 3 ° C. for at least
  acid ; (iv ) about 19.3 % ( w / w of solids ) of a preservative that 12 months . In some embodiments , the formulation does not
  is sodium benzoate; and ( v ) water ; wherein the pH of the             contain mannitol. In some embodiments, the formulation
  formulation is less than about 3.5 ; and wherein the formu              does not contain silicon dioxide .
  lation is stable at about 5 + 3 ° C. for at least 12 months.       25   In some embodiments , the subject has blood pressure
    In some embodiments, the formulation further comprises                values of about 120-139 / 80-89 mm Hg .
  a flavoring agent. In some embodiments, the buffer further              Also provided herein are methods of treating heart failure
  comprises about 2.9 % ( w / w of solids ) sodium citrate dihy in a subject comprising administering to that subject a
  drate . In some embodiments, the pH of the formulation is therapeutically effective amount of enalapril oral liquid
  between about 3 and about 3.5 . In some embodiments, the 30 formulation comprising (i) about 1 mg/ml enalapril maleate;
  pH of the formulation is about 3.3 . In some embodiments, (ii ) about 0.70 mg /ml of a sweetener that is sucralose ; ( iii )
  the citrate concentration in the buffer is about 5 mM to about       a buffer comprising about 1.82 mg/ml citric acid and about
  20 mM . In some embodiments, the citrate concentration in 0.15 mg/ml sodium citrate dihydrate; ( iv ) about 1 mg/ml of
  the buffer is about 10 mM . In some embodiments, the a preservative that is sodium benzoate ; and (v ) water;
  formulation is stable at about 5 + 3 ° C. for at least 18 months. 35 wherein the pH of the formulation is less than about 3.5; and
  In some embodiments , the formulation is stable at about wherein the formulation is stable at about 5-3 ° C. for at least
  523 ° C. for at least 24 months . In some embodiments, the 12 months. In some embodiments, the formulation does not
  formulation does not contain mannitol. In some embodi                   contain mannitol. In some embodiments, the formulation
  ments , the formulation does not contain silicon dioxide.               does not contain silicon dioxide .
     In one aspect , the enalapril oral liquid formulation con- 40 Also provided herein are methods of treating left ven
  sists essentially of ( i ) about 1 mg/ml enalapril maleate ; (ii ) tricular dysfunction in a subject comprising administering to
  about 0.70 mg /ml of a sweetener that is sucralose ; ( iii ) a that subject a therapeutically effective amount of enalapril
  buffer comprising about 1.82 mg/ml citric acid and about oral liquid formulation comprising (i ) about 1 mg/ml enal
  0.15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/ml of april maleate ; (ii ) about 0.7 mg/ml of a sweetener that is
  a preservative that is sodium benzoate ; ( v ) a flavoring agent; 45 sucralose; ( iii ) a buffer comprising about 1.82 mg/ml citric
  and ( vi) water; wherein the pH of the formulation is less than acid and about 0.15 mg/ml sodium citrate dihydrate; ( iv )
  about 3.5 adjusted by sodium hydroxide or hydrochloric about 1 mg/ml of a preservative that is sodium benzoate ; and
  acid ; and wherein the formulation is stable at about 5 + 3 ° C.     ( v ) water ; wherein the pH of the formulation is less than
  for at least 12 months.                                                 about 3.5 ; and wherein the formulation is stable at about
    Also provided herein are methods of treating hypertension 50 5 + 3 ° C. for at least 12 months. In some embodiments, the
  in a subject comprising administering to that subject a                 formulation does not contain mannitol. In some embodi
  therapeutically effective amount of enalapril oral liquid               ments, the formulation does not contain silicon dioxide.
  formulation comprising ( i ) about 1 mg /ml enalapril maleate ;
  ( ii ) about 0.7 mg/ml sucralose; (iii ) a buffer comprising                         INCORPORATION BY REFERENCE
  about 1.82 mg/ml citric acid and about 0.15 mg /ml sodium 55
  citrate dihydrate; (iv) about 1 mg /ml of a preservative that is          All publications, patents, and patent applications men
  sodium benzoate ; and ( v ) water ; wherein the pH of the       tioned in this specification are herein incorporated by ref
  formulation is less than about 3.5 ; and wherein the formu      erence to the same extent as if each individual publication ,
  lation is stable at about 5 + 3 ° C. for at least 12 months. In patent, or patent application was specifically and individu
  some embodiments, the formulation does not contain man- 60 ally indicated to be incorporated by reference .
  nitol . In some embodiments, the formulation does not con
  tain silicon dioxide .                                                        BRIEF DESCRIPTION OF THE DRAWINGS
     In some embodiments, the hypertension is primary (es
  sential) hypertension. In some embodiments, the hyperten       The novel features of the invention are set forth with
  sion is secondary hypertension. In some embodiments, the 65 particularity in the appended claims . A better understanding
  subject has blood pressure values greater than or equal to              of the features and advantages of the present invention will
  140/90 mmm Hg . In some embodiments, the subject is an                  be obtained by reference to the following detailed descrip
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 10 of 28 PageID: 300


                                                         US 10,786,482 B2
                                   5                                                                       6
   tion that sets forth illustrative embodiments , in which the       ment of hypertension and other disorders . In particular, the
   principles of the invention are utilized , and the accompany       embodiments provide stable enalapril oral liquid formula
   ing drawings of which :                                            tions as well as alternatively enalapril powder formulations
      FIG . 1 : Effect of pH on degradant formation after 8 weeks for oral liquid administration .
   of storage of various enalapril solution formulations at 5 ° C. 5 As used herein , “ enalapril” refers to enalapril base , its
      FIG . 2 : Effect of pH on degradant formation after 8 weeks salt , or solvate or derivative or isomer or polymorph thereof.
   of storage of various enalapril solution formulations at room Suitable compounds include the free base , the organic and
   temperature ( 19-22 ° C. ) .                                       inorganic salts , isomers , isomer salts , solvates , polymorphs,
                                                                      complexes etc. U.S. Pat . Nos . 4,374,829 ; 4,472,380 and
                DETAILED DESCRIPTION OF THE                        10 4,510,083 disclose exemplary methods in the preparation of
                            INVENTION                                      enalapril. In some embodiments, the enalapril used in the
                                                                           formulations described herein is an enalapril salt . In some
      Provided herein are stable enalapril oral liquid formula             instances, the enalapril salt is enalapril maleate. In other
   tions . Also provided herein are stable enalapril powder                instances , the enalapril salt is in the form of enalapril
   formulations for reconstitution for oral liquid administra- 15 sodium .
   tion . These enalapril formulations described herein are use      Other ACE inhibitors are contemplated in the formula
   ful for the treatment of hypertension , prehypertension, heart tions within and include but are not limited to quinapril,
   failure as well as ventricular dysfunction. The formulations indolapril, ramipril, perindopril, lisinopril, benazepril, imi
   are advantageous over conventional solid dosage adminis        dapril, zofenopril, trandolapril, fosinopril, captopril, and
   tration of enalapril ranging from ease of administration , 20 their salts , solvates , derivatives, polymorphs, or complexes ,
   accuracy of dosing , accessibility to additional patient popu           thereof.
   lations such as to children and the elderly, and an increased           Enalapril Oral Liquid Formulations
   patient compliance to medication .                                         Oral liquids include, but are not limited to , solutions ( both
      It is generally known that certain segments of the popu aqueous and nonaqueous ), suspensions , emulsions, syrups,
   lation have difficulty ingesting and swallowing solid oral 25 slurries, juices , elixirs , dispersions, and the like. It is envi
   dosage forms such as tablets and capsules. As many as a sioned that solution /suspensions are also included where
   quarter of the total population has this difficulty. Often, this certain components described herein are in a solution while
   leads to non - compliance with the recommended medical other components are in a suspension .
   therapy with the solid dosage forms, thereby resulting in           In one aspect , the enalapril liquid formulations described
   rending the therapy ineffective . Further, solid dosage forms 30 herein comprise enalapril, a preservative, a sweetening
   are not recommended for children or elderly due to agent, a buffer, and water . In one embodiment, the sweet
   increased risk in choking .                                      ening agent is sucralose . In one embodiment, the sweetening
      Furthermore, the dose of enalapril to be given to children agent is xylitol . In one embodiment, the sweetening agent is
   is calculated according to the child's weight. When the not mannitol. In another embodiment, the preservative is
   calculated dose is something other than the amount present 35 sodium benzoate . In some embodiments, the preservative is
   in one or more intact solid dosage forms, the solid dosage a paraben . In some embodiments, the preservative is a
   form must be divided to provide the correct dose . This leads           mixture of parabens. In yet another embodiment, the buffer
   to inaccurate dosing when solid dosages forms, such as                  comprises citric acid . In some embodiments, the buffer
   tablets , are compounded to prepare other formulations for              further comprises sodium citrate . In one aspect , the enalapril
   children .                                                           40 liquid formulation described herein comprises enalapril,
      For enalapril, one solution to overcoming the use of the             sucralose , sodium benzoate, citric acid , sodium citrate , and
   tablet form is for a compounding pharmacist to pulverize                water. In some embodiments, the enalapril liquid formula
   and crush the enalapril tablet ( s ) into a powder via mortar and       tion herein further comprises a flavoring agent. In some
   pestle and reconstitute the powder in some liquid form .                embodiments, the enalapril liquid formulation is not
   However forming a enalapril oral liquid in this fashion has          45 obtained from crushing enalapril tablet and dissolving the
   significant drawbacks including large variability in the                powder in a suitable vehicle for oral administration . In some
   actual dosage, incomplete solubilizing of the enalapril tablet          embodiments, the enalapril liquid formulation does not
   in the liquid , rapid instability , inconsistent formulation            contain silicon dioxide. In some embodiments, the enalapril
   methods per compounding pharmacy, and a number of other                 liquid formulation does not contain mannitol. In some
   potential issues . The crushed tablet liquid formulation may         50 embodiments, the enalapril liquid formulation does not
   also be potentially unsafe due to contamination with residual           contain lactose . In some embodiments, the enalapril liquid
   drugs and other substances from the mortar and pestle or                formulation does not contain magnesium stearate. In some
   other crushing agent.                                                   embodiments, the enalapril liquid formulation does not
      Alternatively, enalapril is formulated as enalapril powder           contain sodium bicarbonate . In some embodiments , the
   compositions for reconstitution as oral liquids as described         55 enalapril liquid formulation does not contain iron oxides.
   in U.S. Pat. No. 8,568,747 . The powder compositions as                    In some embodiments, enalapril or a pharmaceutically
   described in this patent require mannitol and colloidal                 acceptable salt thereof, is present in about 0.6 to about 1.2
   silicon dioxide for stability and dissolution . While these             mg /ml in the oral liquid formulation . In other embodiments,
   powder compositions are an improvement over crushing                    enalapril or a pharmaceutically acceptable salt thereof, is
   tablets , they still require a step ofmixing with a diluent. The     60 present in about 0.6 mg/ml, about 0.61 mg/ml, about 0.62
   stable enalapril oral liquid formulations described herein              mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about 0.65
   require no extra steps or manipulation prior to administra              mg /ml, about 0.66 mg /ml, about 0.67 mg/ml, about 0.68
   tion to a subject. Further, the stable enalapril oral liquid            mg/ml, about 0.69 mg /ml, about 0.7 mg /ml, about 0.71
   formulations described herein do not require or need man                mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, about 0.74
   nitol or colloidal silicon dioxide for stability and dissolution .   65 mg/ml, about 0.75 mg /ml, about 0.76 mg/ml, about 0.77
      The present embodiments described herein provide a safe              mg/ml, about 0.78 mg/ml, about 0.79 mg/ml, about 0.8
   and effective oral administration of enalapril for the treat            mg/ml, about 0.81 mg /ml, about 0.82 mg/ml, about 0.83
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 11 of 28 PageID: 301


                                                             US 10,786,482 B2
                                     7                                                                          8
   mg/ml, about 0.84 mg /ml, about 0.85 mg/ml, about 0.86 ments, enalapril is present in about 10.5 % w / w of the solids
   mg /ml, about 0.87 mg/ml, about 0.88 mg /ml, about 0.89 in the oral liquid formulation . In some embodiments, enal
   mg/ml, about 0.9 mg/ml, about 0.91 mg /ml, about 0.92 april is present in about 15 % w/w of the solids in the oral
   mg/ml, about 0.93 mg /ml, about 0.94 mg /ml, about 0.95 liquid formulation . In some embodiments, enalapril is pres
   mg /ml, about 0.96 mg/ml, about 0.97 mg /ml, about 0.98 5 ent in about 18.2 % w/w of the solids in the oral liquid
   mg /ml, about 0.99 mg/ml , about 1 mg /ml, about 1.01 mg/ml, formulation. In some embodiments , enalapril maleate is
   about 1.02 , mg /ml, about 1.03 mg/ml, about 1.04 mg /ml, present in about 13.5 % w / w of the solids in the oral liquid
   about 1.05 mg/ml, about 1.06 mg/ml, about 1.07 mg/ml, formulation . In some embodiments, enalapril maleate is
   about 1.08 mg/ml, about 1.09 mg /ml, about 1.1 mg/ml, present in about 19.3 % w / w of the solids in the oral liquid
   about 1.11 mg /ml, about 1.12 , mg/ml , about 1.13 mg/ml, 10 formulation . In some embodiments, enalapril maleate is
   about 1.14 mg/ml, about 1.15 mg /ml, about 1.16 mg /ml, present in about 24.5 % w / w of the solids in the oral liquid
   about 1.17 mg/ml, about 1.18 mg /ml, about 1.19 mg/ml, or formulation .
   about 1.2 mg /ml in the liquid oral formulation . In some      In some embodiments, enalapril or a pharmaceutically
   embodiments, enalapril is present in about 0.76 mg/ml in the acceptable salt thereof, is present in about 0.1 % w/w to
   oral liquid formulation . In some embodiments, enalapril 15 about 1 % w / w of the solids in the oral liquid formulation . In
   maleate is present in about 1 mg/ml in the oral liquid other embodiments, enalapril or a pharmaceutically accept
   formulation . In some embodiments, the formulation con       able salt thereof, is present in about 0.1 % w / w , about 0.15 %
   tains enalapril or another pharmaceutically acceptable salt of w / w , about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w ,
   enalapril in a molar concentration equivalent to 1 mg /mL about 0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about
   enalapril maleate . In some embodiments, the formulation 20 0.5 % w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 %
   contains enalapril or another pharmaceutically acceptable w / w , about 0.7 % w / w , about 0.75 % w / w , about 0.8 % w / w ,
   salt of enalapril in a molar concentration equivalent to 0.76 about 0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or
   mg /mL enalapril.                                              about 1 % w / w of the solids in the oral liquid formulation . In
     In some embodiments, enalapril or a pharmaceutically some embodiments, enalapril or a pharmaceutically accept
   acceptable salt thereof, is present in about 0.5 % w/w to 25 able salt thereof, is present in about 0.4 % w / w to about 0.7 %
   about 30 % w/w of the solids in the oral liquid formulation . w / w of the solids in the oral liquid formulation . In some
   In other embodiments, enalapril or a pharmaceutically embodiments, enalapril is present in about 0.4 % w/w of the
   acceptable salt thereof, is present in about 0.5 % w / w , about solids in the oral liquid formulation. In some embodiments,
   1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 % w / w ,         enalapril is present in about 0.5 % w / w of the solids in the
   about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about 4.5 % 30 oral liquid formulation . In some embodiments, enalapril
   w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w , about         maleate is present in about 0.5 % w / w of the solids in the oral
   6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 % w / w ,         liquid formulation . In some embodiments, enalapril maleate
   about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w , about 10 %          is present in about 0.6 % w / w of the solids in the oral liquid
   w / w , about 10.5 % w / w , about 11 % w / w , about 11.5 % w / w ,          formulation .
   about 12 % w / w , about 12.5 % w / w , about 13 % w / w , about         35   Sweetener in the Enalapril Oral Liquid Formulations
   13.5 % w / w , about 14 % w / w , about 14.5 % w / w , about 15 %                Sweeteners or sweetening agents include any compounds
   w / w , about 15.1 % w / w , about 15.2 % w / w , about 15.3 % w / w ,        that provide a sweet taste . This includes natural and syn
   about 15.4 % w / w , about 15.5 % w / w , about 15.6 % w / w ,                thetic sugars , natural and artificial sweeteners, natural
   about 15.7 % w / w , about 15.8 % w / w , about 15.9 % w / w ,                extracts and any material that initiates a sweet sensation in
   about 16 % w / w , about 16.1 % w /w , about 16.2 % w / w , about        40   a subject. In some embodiments, a solid /powder sweetener
   16.3 % w / w , about 16.4 % w / w , about 16.5 % w / w , about                is used in the oral liquid formulation described herein . In
   16.6 % w / w , about 16.7 % w / w , about 16.8 % w / w , about                other embodiments, a liquid sweetener is used in the oral
   16.9 % w / w , about 17 % w / w , about 17.1 % w / w , about 17.2 %           liquid formulation described herein .
   w / w , about 17.3 % w / w , about 17.4 % w / w , about 17.5 % w / w ,           Sugars illustratively include glucose, fructose, sucrose ,
   about 17.6 % w / w , about 17.7 % w / w , about 17.8 % w / w ,           45   xylitol , tagatose , sucralose, maltitol , isomaltulose, IsomaltTM
   about 17.9 % w / w , about 18 % w / w , about 18.1 % w / w , about            (hydrogenated isomaltulose ) , lactitol , sorbitol, erythritol,
   18.2 % w / w , about 18.3 % w / w , about 18.4 % w / w , about                trehalose , maltodextrin, polydextrose , and the like . Other
   18.5 % w / w , about 18.6 % w / w , about 18.7 % w / w , about                sweeteners illustratively include glycerin , inulin , erythritol,
   18.8 % w / w , about 18.9 % w / w , about 19 % w / w , about 19.1 %           maltol , acesulfame and salts thereof, e.g. , acesulfame potas
   w / w , about 19.2 % w / w , about 19.3 % w / w , about 19.4 % w / w ,   50   sium , alitame , aspartame, neotame, sodium cyclamate, sac
   about 19.5 % w / w , about 19.6 % w / w , about 19.7 % w / w ,                charin and salts thereof, e.g. , saccharin sodium or saccharin
   about 19.8 % w / w , about 19.9 % w / w , about 20 % w / w , about            calcium , neohesperidin dihydrochalcone, stevioside, thau
   20.1 % w / w , about 20.2 % w / w , about 20.3 % w / w , about                matin , and the like . Sweeteners can be used in the form of
   20.4 % w / w , about 20.5 % w / w , about 20.6 % w / w , about                crude or refined products such as hydrogenated starch
   20.7 % w / w , about 20.8 % w /w , about 20.9 % w / w , about 21 %       55   hydrolysates, maltitol syrup , high fructose corn syrup , etc.,
   w / w , about 21.1 % w / w , about 21.2 % w / w , about 21.3 % w / w ,        and as branded products, e.g. , Sweet AmTM liquid ( Product
   about 21.4 % w / w , about 21.5 % w / w , about 21.6 % w / w ,                Code 918.003 -propylene glycol , ethyl alcohol , and propri
   about 21.7 % w / w , about 21.8 % w / w , about 21.9 % w / w ,                etary artificial flavor combination, Flavors of North
   about 22 % w / w , about 22.5 % w / w , about 23 % w / w , about              America ) and Sweet AmTM powder ( Product Code 918.005
   23.5 % w / w , about 24 % w / w , about 24.5 % w / w , about 25 %        60   maltodextrin , sorbitol, and fructose combination and Prod
   w / w , about 25.5 % w / w , about 26 % w / w , about 26.5 % w / w ,          uct Code 918.010 -water, propylene glycol , sorbitol, fruc
   about 27 % w / w , about 27.5 % w / w , about 28 % w / w , about              tose , and proprietary natural and artificial flavor
   28.5 % w / w , about 29 % w / w , about 29.5 % w / w , or about               combination , Flavors of North America ), ProSweetTM
   30 % w/w of the solids in the oral liquid formulation . In some ( 1-10 % proprietary plant/vegetable extract and 90-99 % dex
   embodiments , enalapril or a pharmaceutically acceptable 65 trose combination, Viriginia Dare ), MaltisweetTM (maltitol
   salt thereof, is present in about 10 % w / w to about 25 % w / w              solution, Ingredion ), SorboTM ( sorbitol and sorbitol/xylitol
   of the solids in the oral liquid formulation . In some embodi                 solution , SPI Polyols ) , InvertoseTM ( high fructose corn
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 12 of 28 PageID: 302


                                                            US 10,786,482 B2
                                    9                                                                          10
   syrup , Ingredion ), Rebalance M60 and X60 ( sucralose and mg /ml, about 160 mg/ml, about 165 mg/ml, about 170
   maltodextrin , Tate and Lyle ), and Ora -Sweet® sugar- free mg/ml, about 175 mg/ml, about 180 mg /ml, about 185
   flavored syrup ( Paddock Laboratories, Inc. ) . Sweeteners can mg/ml, about 190 mg /ml, about 195 mg /ml, about 200
   be used singly or in combinations of two or more . Suitable mg /ml, about 205 mg/ml, or about 210 mg/ml of the oral
   concentrations of different sweeteners can be selected based 5 liquid formulation . In some embodiments, xylitol is present
   on published information , manufacturers ' data sheets and by in about 150 mg /ml in the oral liquid formulation. In some
   routine testing.                                               embodiments, xylitol is present in about 200 mg/ml in the
      In some embodiments, the enalapril oral liquid formula oral liquid formulation .
   tion described herein comprises a sweetening agent. In some       In some embodiments, xylitol is present in about 80 %
   embodiments, the sweetening agent is sucralose . In some 10 w / w to about 99 % w/w of the solids in the oral liquid
   embodiments, the sweetening agent is xylitol . In some formulation. In other embodiments, xylitol is present in
   embodiments, the sweetener is not mannitol.                    about 80% w / w , about 81 % w / w , about 82 % w / w , about 83 %
      In some embodiments , the enalapril oral liquid formula                   w / w , about 84 % w / w , about 85 % w / w , about 86 % w / w ,
   tion described herein comprises sucralose . In some embodi                   about 87 % w / w , about 88 % w / w , about 89 % w / w , about 90 %
   ments, sucralose is present in about 0.5 to about 0.9 mg/ml 15 w / w , about 91 % w /w , about 92 % w / w , about 93 % w / w ,
   in the oral liquid formulation . In other embodiments, sucral                about 94 % w / w , about 95 % w / w , about 96 % w / w , about 97 %
   ose is present in about 0.51 mg/ml, about 0.52 mg /ml, about                 w / w , about 98 % w / w , or about 99 % w / w of the solids in the
   0.53 mg /ml, about 0.54 mg /ml, about 0.55 mg/ml, about                      oral liquid formulation . In some embodiments , xylitol is
   0.56 mg /ml, about 0.57 mg/ml, about 0.58 mg /ml, about                      present in about 96 % w / w to about 98 % w / w of the solids
   0.59 mg /ml, about 0.60 mg/ml, about 0.61 mg /ml, about                 20   in the oral liquid formulation . In some embodiments, xylitol
   0.62 mg/ml, about 0.63 mg /ml, about 0.64 mg/ml, about                       is present in about 96 % w/w of the solids in the oral liquid
   0.65 mg/ml, about 0.66 mg/ml, about 0.67 mg/ml, about                        formulation .
   0.68 mg /ml, about 0.69 mg/ml, about 0.70 mg/ml, about                       Preservative in the Enalapril Oral Liquid Formulations
   0.71 mg /ml, about 0.72 mg /ml, about 0.73 mg/ml, about                         Preservatives include anti -microbials, anti - oxidants, and
   0.74 mg/ml, about 0.75 mg/ml, about 0.76 mg/ ml, about                  25   agents that enhance sterility. Exemplary preservatives
   0.77 mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, about                       include ascorbic acid , ascorbyl palmitate , BHA , BHT, citric
   0.80 mg /ml, about 0.81 mg /ml, about 0.82 mg/ml, about                      acid, EDTA and its salts , erythorbic acid, fumaric acid , malic
   0.83 mg/ml, about 0.84 mg /ml, about 0.85 mg/ml, about                       acid, propyl gallate , sodium ascorbate , sodium bisulfate ,
   0.86 mg /ml, about 0.87 mg/ml, about 0.88 mg /ml, about                      sodium metabisulfite, sodium sulfite, parabens ( such as
   0.89 mg/ml, or about 0.90 mg/ml in the oral liquid formu-               30   methylparaben , ethylparaben , propylparaben , butylparaben
   lation . In some embodiments, sucralose is present in about                  and their salts ) , benzoic acid , sodium benzoate, potassium
   0.7 mg/ml in the oral liquid formulation .                                   sorbate, vanillin , and the like .
      In some embodii nts, sucralose is present in about 1 %                       In some embodiments , the enalapril oral liquid formula
   w/w to about 30 % w / w of the solids in the oral liquid                     tion described herein comprises a preservative.
   formulation . In some embodiments, sucralose is present in              35      In some embodiments, the preservative is a paraben and
   about 1 % w / w , about 1.5 % w / w , about 2 % w / w , about 2.5 %          the sweetener is not a sugar ( such as , but not limited to
   w / w , about 3 % w / w , about 3.5 % w / w , about 4 % w / w , about        glucose , fructose, sucrose, lactose , maltose ) or a sugar
   4.5 % w / w , about 5 % w / w , about 5.5 % w / w , about 6 % w / w , alcohol ( such as , but not limited to xylitol , mannitol, lactitol ,
   about 6.5 % w / w , about 7 % w / w , about 7.5 % w / w , about 8 % maltitol , sorbitol ).
   w / w , about 8.5 % w / w , about 9 % w / w , about 9.5 % w / w , 40 In some embodiments , the preservative is sodium benzo
   about 10 % w / w , about 10.5 % w / w , about 11 % w / w , about ate .
   11.5 % w / w , about 12 % w / w , about 12.5 % w / w , about 13 %       In some embodiments, modulation of the pH is desired to
   w / w , about 13.5 % w / w , about 14 % w / w , about 14.5 % w / w , provide the best antimicrobial activity of the preservative,
   about 15 % w / w , about 15.5 % w / w , about 16 % w / w , about sodium benzoate. In some embodiments, the antimicrobial
   16.5 % w / w , about 17 % w / w , about 17.5 % w / w , about 18 % 45 activity of sodium benzoate drops when the pH is increased
   w / w , about 18.5 % w / w , about 19 % w / w , about 19.5 % w / w , above 5 .
   about 20 % w / w , about 20.5 % w / w , about 21 % w / w , about        In some embodiments, the pH of the enalapril oral liquid
   21.5 % w / w , about 22 % w / w , about 22.5 % w / w , about 23 %            formulation described herein is less than about 4. In some
   w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 % w / w ,         embodiments, the pH of the enalapril oral liquid formulation
   about 25 % w / w , about 25.5 % w / w , about 26 % w / w , about 50 described herein is less than about 3.5 . In some embodi
   26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about 28 % ments, the pH of the enalapril oral liquid formulation
   w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 % w / w , described herein is between about 3 and about 4. In some
   or about 30% w / w of the solids in the oral liquid formula     embodiments, the pH of the enalapril oral liquid formulation
   tion . In some embodiments, sucralose is present in about 8 % described herein is between about 3 and about 3.5 . In some
   w/w to about 18 % w / w of the solids in the oral liquid 55 embodiments, the pH of the enalapril oral liquid formulation
   formulation. In some embodiments , sucralose is present in described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   about 9.5 % w / w of the solids in the oral liquid formulation. about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
   In some embodiments, sucralose is present in about 13.5 % 3.9 , or about 4. In some embodiments, the pH of the
   w/w of the solids in the oral liquid formulation . In some enalapril oral liquid formulation described herein is about
   embodiments, sucralose is present in about 16.5 % w / w of 60 3.3 .
   the solids in the oral liquid formulation .                      In some embodiments, sodium benzoate is present in
      In some embodiments, the enalapril oral liquid formula     about 0.2 to about 1.2 mg /ml in the oral liquid formulation .
   tion described herein comprises xylitol . In some embodi In other embodiments, sodium benzoate is present in about
   ments , xylitol is present in about 140 mg /ml to about 210 0.2 mg /ml, about 0.21 mg/ml, about 0.22 mg /ml, about 0.23
   mg /ml in the oral liquid formulation .                    65 mg/ml, about 0.24 mg /ml, about 0.25 mg/ml, about 0.26
      In some embodiments, xylitol is present in about 140 mg/ml, about 0.27 mg /ml, about 0.28 mg/ml, about 0.29
   mg/ml, about 145 mg/ml, about 150 mg /ml, about 155 mg /ml, about 0.3 mg /ml, about 0.31 mg /ml, about 0.32
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 13 of 28 PageID: 303


                                                             US 10,786,482 B2
                                    11                                                                          12
   mg/ml, about 0.33 mg /ml, about 0.34 mg /ml, about 0.35                       w / w , about 25 % w / w , about 25.5 % w / w , about 26 % w / w ,
   mg /ml,   about 0.36 mg/ml, about 0.37 mg /ml, about 0.38 about 26.5 % w / w , about 27 % w / w , about 27.5 % w / w , about
   mg/ml,    about 0.39 mg /ml, about 0.4 mg /ml, about 0.41 28 % w / w , about 28.5 % w / w , about 29 % w / w , about 29.5 %
   mg/ml,    about 0.42 mg /ml, about 0.43 mg/ml, about 0.44 w / w , or about 30 % w / w of the solids in the oral liquid
   mg /ml,   about 0.45 mg/ml, about 0.46 mg /ml, about 0.47 5 formulation . In some embodiments, sodium benzoate is
   mg/ml,    about 0.48 mg /ml, about 0.49 mg/ml, about 0.5 present in about 10 % w / w to about 25 % w / w of the solids
   mg /ml,   about 0.51 mg /ml, about 0.52 mg/ml, about 0.53 in the oral liquid formulation . In some embodiments, sodium
   mg/ml,    about 0.54 mg /ml, about 0.55 mg/ml, about 0.56 benzoate is present in about 13.5 % w/w of the solids in the
   mg/ml,    about 0.57 mg /ml, about 0.58 mg/ml, about 0.59 oral liquid formulation . In some embodiments, sodium ben
   mg /ml,   about 0.6 mg/ml, about 0.61 mg /ml, about 0.62 10 zoate is present in about 19.3 % w / w of the solids in the oral
   mg /ml,   about 0.63 mg/ml, about 0.64 mg /ml, about 0.65 liquid formulation . In some embodiments, sodium benzoate
   mg/ml,    about 0.66 mg/ml, about 0.67 mg/ml, about 0.68 is present in about 23.5 % w / w of the solids in the oral liquid
   mg /ml,   about 0.69 mg/ml, about 0.7 mg/ml, about 0.71 formulation .
   mg /ml,   about 0.72 mg/ml, about 0.73 mg /ml, about 0.74       In some embodiments , sodium benzoate is present in
   mg/ml,    about 0.75 mg /ml, about 0.76 mg /ml, about 0.77 15 about 0.1 % w / w to about 1 % w / w of the solids in the oral
   mg/ml,    about 0.78 mg/ml, about 0.79 mg /ml, about 0.8 liquid formulation . In other embodiments , sodium benzoate
   mg/ml,    about 0.81 mg /ml, about 0.82 mg /ml, about 0.83 is present in about 0.1 % w / w , about 0.15 % w / w , about 0.2 %
   mg /ml, about 0.84 mg/ml, about 0.85 mg /ml, about 0.86 w / w , about 0.25 % w / w , about 0.3 % w / w , about 0.35 % w / w ,
   mg/ml, about 0.87 mg/ml, about 0.88 mg/ml, about 0.89 about 0.4 % w / w , about 0.45 % w / w , about 0.5 % w / w , about
   mg /ml, about 0.9 mg/ml, about 0.91 mg /ml, about 0.92 20 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w , about 0.7 %
   mg/ml, about 0.93 mg/ml, about 0.94 mg/ml, about 0.95 w / w , about 0.75 % w / w , about 0.8 % w / w , about 0.85 % w / w ,
   mg/ml, about 0.96 mg/ml, about 0.97 mg/ml, about 0.98 about 0.9 % w / w , about 0.95 % w / w , or about 1 % w / w of the
   mg/ml, about 0.99 mg/ml , about 1 mg/ml, about 1.01 mg/ml, solids in the oral liquid formulation. In some embodiments,
   about 1.02 , mg /ml, about 1.03 mg/ml, about 1.04 mg /ml, sodium benzoate is present in about 0.4 % w/w to about 0.7 %
   about 1.05 mg/ml, about 1.06 mg /ml, about 1.07 mg /ml, 25 w / w of the solids in the oral liquid formulation . In some
   about 1.08 mg /ml, about 1.09 mg /ml, about 1.1 mg /ml, embodiments , sodium benzoate is present in about 0.45 %
   about 1.11 mg /ml, about 1.12 , mg/ml , about 1.13 mg/ml, w / w of the solids in the oral liquid formulation . In some
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg/ml, embodiments, sodium benzoate is present in about 0.6 %
   about 1.17 mg/ml, about 1.18 mg /ml, about 1.19 mg /ml, or w / w of the solids in the oral liquid formulation .
   about 1.2 mg/ml in the liquid oral formulation . In some 30 In some embodiments, sodium benzoate is present in an
   embodiments, sodium benzoate is present in about 1 mg/ml amount sufficient to provide antimicrobial effectiveness to
   in the oral liquid formulation .                           the enalapril oral liquid formulation described herein . ( See
      In some embod ts , sodium benzoate is present in Table G- 1 ) .
   about 1 % w/w to about 30 % w/w of the solids in the oral                       In some embodiments, the preservative is a paraben . In
   liquid formulation . In other embodiments, sodium benzoate 35 some embodiments, the preservative is a mixture of para
   is present in about 1 % w / w , about 1.5 % w / w , about 2 % w / w ,         bens. In some embodiments, the paraben or mixture of
   about 2.5 % w / w , about 3 % w / w , about 3.5 % w / w , about 4 %           parabens is present in about 0.1 mg/ml to about 2 mg/ ml in
   w / w , about 4.5 % w / w , about 5 % w / w , about 5.5 % w / w ,             the oral liquid formulation. In other embodiments , the
   about 6 % w / w , about 6.5 % w / w , about 7 % w / w , about 7.5 %           paraben or mixture of parabens is present in about 0.1
   w / w , about 8 % w / w , about 8.5 % w / w , about 9 % w / w , about 40      mg/ml, about 0.2 mg/ml, about 0.3 mg/ml , about 0.4 mg/ml,
   9.5 % w / w , about 10% w / w , about 10.5 % w / w , about 11 %               about 0.5 mg/ml, about 0.6 mg/ml, about 0.7 mg /ml, about
   w / w , about 11.5 % w / w , about 12 % w / w , about 12.5 % w / w ,          0.8 mg /ml, about 0.9 mg/ml, about 1 mg /ml, about 1.1
   about 13 % w / w , about 13.5 % w / w , about 14 % w / w , about              mg /ml, about 1.2 mg/ml, about 1.3 mg/ml , about 1.4 mg /ml,
   14.5 % w / w , about 15 % w / w , about 15.1 % w / w , about 15.2 %           or about 1.5 mg /ml, about 1.6 mg /ml, about 1.7 mg/ml,
   w / w , about 15.3 % w / w , about 15.4 % w / w , about 15.5 % w / w ,   45   about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg /ml in the
   about 15.6 % w / w , about 15.7 % w / w , about 15.8 % w / w ,                liquid oral formulation . In some embodiments, the paraben
   about 15.9 % w / w , about 16 % w / w , about 16.1 % w / w , about            or mixture of parabens is present in about 1.6 mg/ml to about
   16.2 % w / w , about 16.3 % w / w , about 16.4 % w / w , about                2 mg /ml in the oral liquid formulation . In some embodi
   16.5 % w / w , about 16.6 % w / w , about 16.7 % w / w , about                ments, the paraben or mixture of parabens is present in about
   16.8 % w / w , about 16.9 % w / w , about 17 % w / w , about 17.1 %      50   1.6 mg /ml to about 1.8 mg /ml in the oral liquid formulation.
   w / w , about 17.2 % w / w , about 17.3 % w / w , about 17.4 % w / w ,        In some embodiments, the paraben or mixture of parabens is
   about 17.5 % w / w , about 17.6 % w / w , about 17.7 % w / w ,                present in about 0.1 mg /ml to about 0.5 mg /ml in the oral
   about 17.8 % w / w , about 17.9 % w / w , about 18 % w / w , about            liquid formulation.
   18.1 % w / w , about 18.2 % w / w , about 18.3 % w / w , about                   In some embodiments, the paraben or mixture of parabens
   18.4 % w / w , about 18.5 % w / w , about 18.6 % w / w , about           55   is present in about 2 % w / w to about 30% w/w of the solids
   18.7 % w / w , about 18.8 % w / w , about 18.9 % w / w , about 19 %           in the oral liquid formulation . In other embodiments, the
   w / w , about 19.1 % w / w , about 19.2 % w / w , about 19.3 % w / w ,        paraben or mixture of parabens is present in about 2 % w / w ,
   about 19.4 % w / w , about 19.5 % w / w , about 19.6 % w / w ,              about 3 % w / w , about 4 % w / w , about 5 % w / w , about 6 %
   about 19.7 % w / w , about 19.8 % w / w , about 19.9 % w / w ,              w / w , about 7 % w / w , about 8 % w / w , about 9 % w / w , about
   about 20 % w / w , about 20.1 % w / w , about 20.2 % w / w , about       60 10% w / w , about 11 % w / w , about 12 % w / w , about 13 % w / w ,
   20.3 % w / w , about 20.4 % w / w , about 20.5 % w / w , about              about 14 % w / w , about 15 % w / w , about 16 % w / w , about 17 %
   20.6 % w / w , about 20.7 % w / w , about 20.8 % w / w , about              w / w , about 18 % w / w , about 19 % w / w , about 20 % w / w ,
   20.9 % w / w , about 21 % w / w , about 21.1 % w / w , about 21.2 %         about 21 % w / w , about 22 % w / w , about 23 % w / w , about 24 %
   w / w , about 21.3 % w / w , about 21.4 % w / w , about 21.5 % w / w ,      w / w , about 25 % w / w , about 26 % w / w , about 27 % w / w ,
   about 21.6 % w / w , about 21.7 % w / w , about 21.8 % w / w ,           65 about 28 % w / w , about 29 % w / w , or about 30 % w / w of the
   about 21.9 % w / w , about 22 % w / w , about 22.5 % w / w , about          solids in the oral liquid formulation . In some embodiments ,
   23 % w / w , about 23.5 % w / w , about 24 % w / w , about 24.5 %           the paraben or mixture of parabens is present in about 2 %
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 14 of 28 PageID: 304


                                                        US 10,786,482 B2
                                 13                                                                         14
   w/w to about 3 % w / w of the solids in the oral liquid
   formulation . In some embodiments, the paraben or mixture
   of parabens is present in about 23 % w/w to about 26 % w / w
   of the solids in the oral liquid formulation . In some embodi
   ments, the paraben or mixture of parabens is present in about       5
   26 % w / w to about 30 % w/w of the solids in the oral liquid                                                              0;
   formulation .
   Sweetener and Preservative Incompatibility
      Paraben preservatives ( especially methylparaben ) can
   react with selected sugars ( glucose , fructose , sucrose , lac-    10
   tose , maltose) and sugar alcohols (xylitol, mannitol, lactitol ,
   maltitol , sorbitol) to form transesterification reaction prod                                enalapril diketopiperazine
   ucts . This can be undesirable from a formulation and sta
   bility standpoint as the transesterification creates additional
   degradants.                                                         15
      In some embodiments, the enalapril oral liquid formula
   tion described herein does not comprise a paraben preser
   vative . In further embodiments , the enalapril oral liquid
   formulation described herein does not comprise a paraben                                                  ??3
   preservative when the formulation also comprises a sugar or         20                ?? .
   sugar alcohol .
   pH of Enalapril Oral Liquid Formulations
      Buffering agents maintain the pH of the liquid enalapril                                                         HO
   formulation . Non -limiting examples of buffering agents
   include , but are not limited to sodium bicarbonate, potas-         25                               enalaprilat
   sium bicarbonate, magnesium hydroxide, magnesium lac
   tate , magnesium glucomate, aluminum hydroxide, alumi                      In some embodiments, the percentage of enalaprilat for
   num hydroxide / sodium bicarbonate co -precipitate, mixture              mation is increased when the pH is above 3.5 . ( See table C - 2
   of an amino acid and a buffer, a mixture of aluminum
   glycinate and a buffer, a mixture of an acid salt of an amino 30 age
                                                                    and FIG
                                                                         of . enalapril
                                                                               1 and FIGdiketopiperazine
                                                                                         . 2 ) . In some embodiments
                                                                                                             formation, theis percent
                                                                                                                               slightly
   acid and a buffer, and a mixture of an alkali salt of an amino
   acid and a buffer. Additional buffering agents include citric            increased as the pH is below 4 .
     id , sodium       te , sodium tartarate , sodium acetate ,               In some embodiments, the pH of the enalapril oral liquid
   sodium carbonate , sodium polyphosphate, potassium poly                  formulation described herein is less than about 4. In some
   phosphate , sodium pyrophosphate, potassium pyrophos- 35 embodiments, the pH of the enalapril oral liquid formulation
   phate, disodium hydrogenphosphate , dipotassium hydrogen                 described herein is less than about 3.5 . In some embodi
   phosphate , trisodium phosphate , tripotassium phosphate,                ments, the pH of the enalapril oral liquid formulation
   sodium acetate, potassium metaphosphate, magnesium described herein is between about 3 and about 4. In some
   oxide , magnesium hydroxide, magnesium carbonate , mag           embodiments , the pH of the enalapril oral liquid formulation
   nesium silicate , calcium acetate , calcium glycerophosphate, 40 described herein is between about 3 and about 3.5 . In some
   calcium chloride , calcium hydroxide, calcium lactate, cal embodiments, the pH of the enalapril oral liquid formulation
   cium carbonate, calcium bicarbonate, and other calcium described herein is about 3 , about 3.1 , about 3.2 , about 3.3 ,
   salts . Some buffering agents also impart effervescent quali     about 3.4 , about 3.5 , about 3.6 , about 3.7 , about 3.8 , about
   ties when a powder is reconstituted in a solution . In some 3.9 , or about 4. In some embodiments, the pH of the
   embodiments , the buffering agent is not sodium bicarbonate . 45 enalapril oral liquid formulation described herein is about
      In some embodiments, the oral liquid formulation com          3.3 .
   prises a buffer.                                                    In some embodiments, the formation of degradants is
      In some embodiments, the buffer in the enalapril oral dependent on the buffer concentration. In some embodi
   liquid formulation described herein comprises citric acid . In ments, the buffer concentration impacts the taste of the
   some embodiments, the buffer in the enalapril oral liquid 50 enalapril oral liquid formulation.
   formulation described herein comprises citric acid and          In some embodiments, the buffer concentration is
   sodium citrate . In some embodiments, the buffer in the       between about 5 mM and about 20 mM . In some embodi
   enalapril oral liquid formulation described herein comprises ments, the buffer concentration is about 5 mM , about 6 mM ,
   citric acid and sodium citrate dihydrate or an equivalent about 7 mM , about 8 mM , about 9 mM , about 10 mM , about
   molar amount of sodium citrate anhydrous. In some embodi- 55 11 mM , about 12 mM , about 13 mm , about 14 mM , about
   ments, the sodium citrate is monosodium citrate . In some 15 mM , about 16 mM , about 17 mM , about 18 mM , about
   embodiments, the sodium citrate is disodium citrate . In some 19 mm , or about 20 mM . In some embodiments, the buffer
   embodiments, the sodium citrate is trisodium citrate .        concentration is about 5 mM . In some embodiments, the
      In some embodiments, the buffer in the enalapril oral buffer concentration is about 10 mM . In some embodiments,
   liquid formulation described herein comprises phosphoric 60 the buffer concentration is about 20 mM .
   acid . In some embodiments, the buffer in the enalapril oral      In some embodiments, citric acid is present in about 0.7
   liquid formulation described herein comprises sodium phos to about 2 mg/ml in the oral liquid formulation. In other
   phate.                                                          embodiments, citric acid is present in about 0.7 mg/ml,
      In some embodiments, modulation of the pH is desired to about 0.71 mg/ml , about 0.72 mg/ml, about 0.73 mg/ml,
   provide a lowered impurity profile. In the exemplary stabil- 65 about 0.74 mg/ml , about 0.75 mg/ml, about 0.76 mg/ml,
   ity studies, the main enalapril degradants are enalapril about 0.77 mg/ml , about 0.78 mg /ml, about 0.79 mg/ml,
   diketopiperazine and enalaprilat:                               about 0.8 mg/ml, about 0.81 mg /ml, about 0.82 mg /ml,
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 15 of 28 PageID: 305


                                                          US 10,786,482 B2
                                  15                                                                           16
   about 0.83 mg/ml, about 0.84 mg /ml, about 0.85 mg /ml,                    w / w , about 35 % w / w , about 36 % w / w , about 37 % w / w ,
   about 0.86 mg/ml, about 0.87 mg/ml, about 0.88 mg/ml,                      about 38 % w / w , about 39 % w / w , about 40 % w / w , about 41 %
   about 0.89 mg /ml, about 0.9 mg/mL, about 0.91 mg /mL ,                    w / w , about 42 % w / w , about 43 % w / w , about 44 % w / w ,
   about 0.92 mg /mL , about 0.93 mg/mL , about 0.94 mg/mL ,                  about 45 % w / w , about 46 % w / w , about 47 % w / w , about 48 %
   about 0.95 mg/mL , about 0.96 mg/mL , about 0.97 mg /mL , 5 w / w , about 49 % w / w , about 50 % w/w of the solids in the oral
   about 0.98 mg/mL , about 0.99 mg/mL , about 1 mg/mL , liquid formulation . In some embodiments, citric acid is
   about 1.11 mg/ml, about 1.12 mg /ml, about 1.13 mg/ml, present in about 45 % w/w of the solids in the oral liquid
   about 1.14 mg/ml, about 1.15 mg/ml, about 1.16 mg /ml, formulation. In some embodiments, citric acid is present in
   about 1.17 mg/ml, about 1.18 mg/ml, about 1.19 mg/ml, about 31 % w / w of the solids in the oral liquid formulation.
   about  1.2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml, 10 In some embodiments, citric acid is present in about 35 %
   about 1.23 mg/ml, about 1.24 mg /ml, about 1.25 mg /ml, w / w of the solids in the oral liquid formulation . In some
   about 1.26 mg /ml, about 1.27 mg /ml, about 1.28 mg/ml,
   about 1.29 mg/ml, about 1.3 mg/mL, about 1.31 mg/mL , embodiments           , citric acid is present in about 19 % w/w of the
   about 1.32 mg/mL , about 1.33 mg/mL , about 1.34 mg /mL , solids     in the oral liquid formulation .
   about 1.35 mg/mL , about 1.36 mg/mL , about 1.37 mg /mL , 15 In some embodiments, citric acid is present in about 1 %
   about 1.38 mg /mL , about 1.39 mg/mL , about 1.4 mg/ml, w / w to about 5 % w/w of the solids in the oral liquid
   about 1.41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml, formulation . In other embodiments, citric acid is present in
   about 1.44 mg /ml, about 1.45 mg /ml, about 1.46 mg/ml,                    about 1 % w / w , about 1.1 % w / w , about 1.2 % w / w , about
   about 1.47 mg/ml, about 1.48 mg/ml, about 1.49 mg /ml,                     1.3 % w / w , about 1.4 % w / w , about 1.5 % w / w , about 1.6 %
   about 1.5 mg/ml, about 1.51 mg/ml, about 1.52 mg/ml, 20 w /w , about 1.7 % w / w , about 1.8 % w /w , about 1.9 % w /w ,
   about 1.53 mg/ml, about 1.54 mg/ml, about 1.55 mg/ml,                      about 2 % w / w , about 2.1 % w / w , about 2.2 % w / w , about
   about 1.56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml,                      2.3 % w / w , about 2.4 % w / w , about 2.5 % w / w , about 2.6 %
   about 1.59 mg/ml, about 1.6 mg /mL , about 1.61 mg /mL ,                   w / w , about 2.7 % w / w , about 2.8 % w / w , about 2.9 % w / w ,
   about 1.62 mg/mL , about 1.63 mg/mL , about 1.64 mg /mL ,                  about 3 % w / w , about 3.1 % w / w , about 3.2 % w / w , about
   about 1.65 mg/mL , about 1.66 mg/mL , about 1.67 mg /mL ,             25   3.3 % w / w , about 3.4 % w / w , about 3.5 % w / w , about 3.6 %
   about 1.68 mg/mL , about 1.69 mg/mL , about 1.7 mg /ml,                    w / w , about 3.7 % w / w , about 3.8 % w / w , about 3.9 % w / w ,
   about 1.71 mg/ml, about 1.72 mg /ml, about 1.73 mg/ml,                     about 4 % w / w , about 4.1 % w / w , about 4.2 % w / w , about
   about 1.74 mg /ml, about 1.75 mg /ml, about 1.76 mg/ml,                    4.3 % w / w , about 4.4 % w / w , about 4.5 % w / w , about 4.6 %
   about 1.77 mg/ml, about 1.78 mg/ml, about 1.79 mg /ml,                     w / w , about 4.7 % w / w , about 4.8 % w / w , about 4.9 % w / w , or
   about 1.8 mg /ml, about 1.81 mg/ml, about 1.82 mg /ml,                30   about 5 % w / w of the solids in the oral liquid formulation. In
   about 1.83 mg /ml, about 1.84 mg /ml, about 1.85 mg/ml,                    some embodiments , citric acid is present in about 2.1 % w / w
   about 1.86 mg/ml, about 1.87 mg/ml, about 1.88 mg /ml,                     of the solids in the oral liquid formulation . In some embodi
   about 1.89 mg /ml, about 1.9 mg/mL , about 1.91 mg/mL ,                    ments, citric acid is present in about 1.6 % w / w of the solids
   about 1.92 mg/mL , about 1.93 mg/mL , about 1.94 mg /mL ,                  in the oral liquid formulation .
   about 1.95 mg/mL , about 1.96 mg /mL , about 1.97 mg /mL ,            35      In some embodiments, sodium citrate dihydrate is present
   about 1.98 mg /mL , about 1.99 mg/mL , or about 2 mg/mL in                 in about 0.1 to about 0.8 mg/ml in the oral liquid formula
   the oral liquid formulation . In some embodiments , citric acid            tion . In other embodiments, sodium citrate dihydrate is
   is present in about 1.65 mg /ml in the oral liquid formulation .           present in the oral liquid formulation is about 0.1 mg/mL ,
   In some embodiments, citric acid is present in about 1.82                  about 0.11 mg/mL, about 0.12 mg /mL , about 0.13 mg /mL,
   mg/ml in the oral liquid formulation . In some embodiments ,          40   about 0.14 mg/mL, about 0.15 mg /ml, about 0.16 mg /mL ,
   citric acid is present in about 0.82 mg /ml in the oral liquid             about 0.17 mg/mL , about 0.18 mg/mL, about 0.19 mg/mL ,
   formulation .                                                              about 0.2 mg /ml, about 0.21 mg/ml, about 0.22 mg /ml,
      In some embodiments, citric acid is present in about 2 to               about 0.23 mg/ml , about 0.24 mg/ml, about 0.25 mg/ml,
   about 3.5 mg/ml in the oral liquid formulation . In other                  about 0.26 mg/ml , about 0.27 mg/ml, about 0.28 mg/ml,
   embodiments, citric acid is present in about 2 mg /mL , about         45   about 0.29 mg/ml, about 0.3 mg /ml, about 0.31 mg /ml,
   2.05 mg/mL , about 2.1 mg/mL, about 2.15 mg/mL , about                     about 0.32 mg/ml , about 0.33 mg/ml, about 0.34 mg/ml,
   2.2 mg/mL , about 2.25 mg /mL , about 2.3 mg /mL, about                    about 0.35 mg/ml , about 0.36 mg /ml, about 0.37 mg/ml,
   2.35 mg/mL , about 2.4 mg/mL, about 2.45 mg/mL , about                     about 0.38 mg/ml, about 0.39 mg/ml, about 0.4 mg/ml,
   2.5 mg /mL , about 2.55 mg/mL , about 2.6 mg/mL, about                     about 0.41 mg/ml , about 0.42 mg/ml, about 0.43 mg/ml,
   2.65 mg/mL , about 2.7 mg/mL, about 2.75 mg /mL, about                50   about 0.44 mg/ml , about 0.45 mg /ml, about 0.46 mg /ml,
   2.8 mg /mL , about 2.85 mg/mL, about 2.9 mg/mL, about                      about 0.47 mg/ml , about 0.48 mg/ml, about 0.49 mg/ml,
   2.95 mg/mL , about 3 mg /mL , about 3.05 mg/ml, about 3.1                  about 0.5 mg /ml, about 0.51 mg/ml, about 0.52 mg/ml,
   mg /mL , about 3.15 mg /mL , about 3.2 mg /mL , about 3.25                 about 0.53 mg/ml , about 0.54 mg/ml, about 0.55 mg /ml,
   mg /mL , about 3.3 mg /mL , about 3.35 mg/mL , about 3.4                   about 0.56 mg/ml , about 0.57 mg/ml, about 0.58 mg/ml,
   mg/mL , about 3.45 mg/mL, or about 3.5 mg/mL in the oral              55   about 0.59 mg/ml, about 0.6 mg /ml, about 0.61 mg /ml,
   liquid formulation . In some embodiments, citric acid is                   about 0.62 mg/ml , about 0.63 mg/ml, about 0.64 mg/ml,
   present in about 3.3 mg/ml in the oral liquid formulation .                about 0.65 mg/ml , about 0.66 mg/ml, about 0.67 mg/ml,
      In some embodiments, citric acid is present in about 10 %               about 0.68 mg/ml, about 0.69 mg /ml, about 0.7 mg/ml,
   w/w to about 50 % w / w of the solids in the oral liquid                   about 0.71 mg/ml , about 0.72 mg/ml, about 0.73 mg /ml,
   formulation . In other embodiments, citric acid is present in         60   about 0.74 mg/ml , about 0.75 mg /ml, about 0.76 mg/ml,
   about 10 % w / w , about 11 % w / w , about 12 % w / w , about 13 %      about 0.77 mg/ml, about 0.78 mg /ml, about 0.79 mg/ml, or
   w / w , about 14 % w / w , about 15 % w / w , about 16 % w / w ,         about 0.8 mg /ml in the oral liquid formulation . In some
   about 17 % w / w , about 18 % w / w , about 19 % w / w , about 20 %      embodiments, sodium citrate dihydrate is present in about
   w / w , about 21 % w / w , about 22 % w / w , about 23 % w / w ,         0.75 mg/ml in the oral liquid formulation . In some embodi
   about 24 % w / w , about 25 % w / w , about 26 % w /w , about 27 %    65 ments, sodium citrate dihydrate is present in about 0.35
   w / w , about 28 % w / w , about 29 % w / w , about 30 % w / w ,         mg /ml in the oral liquid formulation . In some embodiments ,
   about 31 % w / w , about 32 % w / w , about 33 % w / w , about 34 %      sodium citrate dihydrate is present in about 0.2 mg /ml in the
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 16 of 28 PageID: 306


                                                            US 10,786,482 B2
                                   17                                                                        18
   oral liquid formulation . In some embodiments, sodium cit                  cinnamon , cacao , orange , peppermint, cherry (in particular
   rate dihydrate is present in about 0.15 mg /ml in the oral                 wild cherry ), grape, bubblegum , vanilla , and mixed berry. In
   liquid formulation .                                                       some embodiments, the enalapril liquid formulation
      In some embodiments, sodium citrate dihydrate is present                described herein comprises a mixed berry flavoring agent.
   in about 1 % w / w to about 15 % w / w of the solids in the oral 5         Flavoring agents can be used singly or in combinations of
   liquid formulation . In other embodiments, sodium citrate                  two or more .
   dihydrate is present in about 1 % w / w , about 1.1 % w / w , about          In further embodiments, the enalapril liquid formulation
   1.2 % w / w , about 1.3 % w / w , about 1.4 % w / w , about 1.5 %          comprises a coloring agent for identity and /or aesthetic
   w / w , about 1.6 % w / w , about 1.7 % w / w , about 1.8 % w / w ,        purposes. Suitable coloring agents illustratively include
   about 1.9 % w / w , about 2 % w / w , about 2.1 % w / w , about 10 FD & C Red No. 3 , FD & C Red No. 20 , FD & C Red No. 40 ,
   2.2 % w / w , about 2.3 % w / w , about 2.4 % w / w , about 2.5 % FD & C Yellow No. 6 , FD & C Blue No. 2 , FD & C Green No.
   w / w , about 2.6 % w / w , about 2.7 % w / w , about 2.8 % w / w , 5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures
   about 2.9 % w / w , about 3 % w / w , about 3.1 % w / w , about thereof.
   3.2 % w / w , about 3.3 % w / w , about 3.4 % w / w , about 3.5 %         Thickeners impart viscosity or weight to the resultant
   w / w , about 3.6 % w / w , about 3.7 % w / w , about 3.8 % w / w , 15 liquid forms from the enalapril formulation described
   about 3.9 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 % herein . Exemplary thickeners include dextrin , cellulose
   w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w , derivatives ( carboxymethylcellulose and its salts , ethylcel
   about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 % lulose, hydroxyethyl cellulose, methylcellulose, hypromel
   w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about lose , and the like ) starches, pectin, polyethylene glycol ,
   10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 % 20 polyethylene oxide , trehalose and certain gums ( xanthan
   w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w ,       gum , locust bean gum , etc. ). In certain embodiments, the
   about 14 % w / w , about 14.5 % w / w , about 15 % w / w of the            enalapril liquid formulation comprises a thickener .
   solids in the oral liquid formulation . In some embodiments,                  Additional excipients are contemplated in the enalapril
   sodium citrate dihydrate is present in about 10.5 % w / w of liquid formulation embodiments . These additional excipi
   the solids in the oral liquid formulation . In some embodi- 25 ents are selected based on function and compatibility with
   ments, sodium citrate dihydrate is present in about 7.5 % the enalapril liquid formulations described herein and may
   w/w of the solids in the oral liquid formulation . In some be found, for example in Remington : The Science and
   embodiments, sodium citrate dihydrate is present in about Practice of Pharmacy . Nineteenth Ed ( Easton , Pa .: Mack
   4.5 % w/w of the solids in the oral liquid formulation . In Publishing Company, 1995 ) ; Hoover, John E. , Remington's
   some embodiments, sodium citrate dihydrate is present in 30 Pharmaceutical Sciences. ( Easton , Pa .: Mack Publishing Co
   about 2.9 % w / w of the solids in the oral liquid formulation . 1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
      In other embodiments, sodium citrate dihydrate is not ceutical Dosage Forms (New York , N.Y .: Marcel Decker
   added the formulation .                                          1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
   Additional Excipients                                            ery Systems, Seventh Ed (Lippincott Williams & Wilkins
      In further embodiments , the enalapril liquid formulation            35 1999 ) , herein incorporated by reference in their entirety .
   described herein comprises additional excipients including,                Stability
   but not limited to , glidants, flavoring agents, coloring agents              The main enalapril degradants are enalapril diketopipera
   and thickeners. Additional excipients such as bulking agents ,             zine and enalaprilat.
   tonicity agents and chelating agents are within the scope of                  The enalapril oral liquid formulations described herein are
   the embodiments .                                                       40 stable in various storage conditions including refrigerated ,
      Glidants are substances that improve flowability of a                   ambient and accelerated conditions . Stable as used herein
   powder. Suitable glidants include, but are not limited to ,                refers to enalapril oral liquid formulations having about 95 %
   calcium phosphate tribasic , calcium silicate, cellulose (pow              or greater of the initial enalapril amount and about 5 % w / w
   dered ), colloidal silicon dioxide , magnesium silicate , mag              or less total impurities or related substances at the end of a
   nesium trisilicate, silicon dioxide , starch , talc and the like . In   45 given storage period. The percentage of impurities is calcu
   some embodiments, the enalapril powder formulations                        lated from the amount of impurities relative to the amount of
   described herein comprise a glidant. In some embodiments                   enalapril. Stability is assessed by HPLC or any other known
   the glidant is not colloidal silicon dioxide .                             testing method . In some embodiments, the stable enalapril
      In another embodiment, the enalapril liquid formulation                 oral liquid formulations have about 5 % w / w , about 4 % w / w ,
   comprises a flavoring agent or flavorant to enhance the taste           50 about 3 % w /w , about 2.5 % w / w , about 2 % w / w , about 1.5 %
   or aroma of the formulation in liquid form . Suitable natural              w / w , about 1 % w / w , or about 0.5 % w/w total impurities or
   or synthetic flavoring agents can be selected from standard                related substances. In other embodiments , the stable enal
   reference books , for example Fenaroli's Handbook of Flavor                april oral liquid formulations have about 5 % w/w total
   Ingredients, 3rd edition ( 1995 ) . Non - limiting examples of impurities or related substances . In yet other embodiments ,
   suitable natural flavors , some of which can readily be 55 the stable enalapril oral liquid formulations have about 4 %
   simulated with synthetic agents or combinations thereof, w / w total impurities or related substances . In yet other
   include almond, anise , apple , apricot, bergamot, blackberry, embodiments, the stable enalapril oral liquid formulations
   blackcurrant, blueberry, cacao , caramel, cherry , cinnamon , have about 3 % w / w total impurities or related substances . In
   clove , coffee, coriander, cranberry, cumin , dill , eucalyptus , yet other embodiments, the stable enalapril oral liquid
    fennel, fig, ginger, grape , grapefruit, guava, hop , lemon , 60 formulations have about 2 % w / w total impurities or related
   licorice , lime , malt , mandarin , molasses , nutmeg , mixed substances. In yet other embodiments, the stable enalapril
   berry, orange, peach , pear, peppermint, pineapple , raspberry, oral liquid formulations have about 1 % w / w total impurities
   rose , spearmint, strawberry, tangerine, tea , vanilla, winter or related substances.
   green , etc. Also useful, particularly where the formulation is           At refrigerated condition, the enalapril oral liquid formu
   intended primarily for pediatric use , is tutti - frutti or bubble- 65 lations described herein are stable for at least 1 month , at
   gum flavor, a compounded flavoring agent based on fruit least 2 months, at least 3 months, at least 6 months, at least
   flavors . Presently preferred flavoring agents include anise ,             9 months, at least 12 months, at least 15 months, at least 18
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 17 of 28 PageID: 307


                                                          US 10,786,482 B2
                                  19                                                                        20
   months, at least 24 months, at least 30 months and at least 15.5 % w / w , about 16 % w / w , about 16.5 % w / w , about 17 %
   36 months. In some embodiments, refrigerated condition is w / w , about 17.5 % w / w , about 18 % w / w , about 18.5 % w / w ,
   5 + 3 ° C. In some embodiments , refrigerated condition is about 19 % w / w , about 19.5 % w / w , about 20% w / w , about
   about 2 ° C. , about 2.1 ° C. , about 2.2 ° C. , about 2.3 ° C. , 20.5 % w / w , about 21 % w / w , about 21.5 % w / w , about 22 %
   about 2.4 ° C. , about 2.5 ° C. , about 2.6 ° C. , about 2.7 ° C. , 5 w / w , about 22.5 % w / w , about 23 % w / w , about 23.5 % w / w ,
   about 2.8 ° C. , about 2.9 ° C. , about 3 ° C. , about 3.1 ° C. , about 24 % w / w , about 24.5 % w / w , about 25 % w / w , about
   about 3.2 ° C. , about 3.3 ° C. , about 3.4 ° C. , about 3.5 ° C. , 25.5 % w / w , about 26 % w / w , about 26.5 % w / w , about 27 %
   about 3.6 ° C. , about 3.7 ° C. , about 3.8 ° C. , about 3.9 ° C. , w / w , about 27.5 % w / w , about 28 % w / w , about 28.5 % w / w ,
   about 4 ° C. , about 4.1 ° C. , about 4.2 ° C. , about 4.3 ° C. , about 29 % w / w , about 29.5 % w / w , or about 30% w / w of the
   about 4.4 ° C. , about 4.5 ° C. , about 4.6 ° C. , about 4.7 ° C. , 10 powder formulation . In some embodiments, enalapril or a
   about 4.8 ° C. , about 4.9 ° C. , about 5 ° C. , about 5.1 ° C. , pharmaceutically acceptable salt thereof, is present in about
   about 5.2 ° C. , about 5.3 ° C. , about 5.4 ° C. , about 5.5 ° C. , 10% w / w to about 25 % w / w of the powder formulation. In
   about 5.6 ° C. , about 5.7 ° C. , about 5.8 ° C. , about 5.9 ° C. , some embodiments, enalapril maleate is present in about
   about 6 ° C. , about 6.1 ° C. , about 6.2 ° C. , about 6.3 ° C. , 13.5 % w/w of the powder formulation . In some embodi
   about 6.4 ° C. , about 6.5 ° C. , about 6.6 ° C. , about 6.7 ° C. , 15 ments, enalapril maleate is present in about 19.5 % w / w of
   about 6.8 ° C. , about 6.9 ° C. , about 7 ° C. , about 7.1 ° C. , the powder formulation . In some embodiments , enalapril
   about 7.2 ° C. , about 7.3 ° C. , about 7.4 ° C. , about 7.5 ° C. , maleate is present in about 24.5 % w/w of the powder
   about 7.6 ° C. , about 7.7 ° C. , about 7.8 ° C. , about 7.9 ° C. , or formulation. In some embodiments, enalapril is present in
   about 8 ° C. At accelerated conditions, the enalapril oral about 10.5 % w / w of the powder formulation . In some
   liquid formulations described herein are stable for at least 1 20 embodiments, enalapril is present in about 14.5 % w / w of the
   month , at least 2 months, at least 3 months, at least 4 months, powder formulation . In some embodiments, enalapril is
   at least 5 months, at least 6 months, at least 7 months, at least present in about 18 % w / w of the powder formulation .
   8 months, at least 9 months, at least 10 months, at least 11               In some embodiments, enalapril or a pharmaceutically
   months or at least 12 months. Accelerated conditions for the             acceptable salt thereof, is present in about 0.1 % w/w to
   enalapril oral liquid formulations described herein include 25 about 1 % w / w of the powder formulation . In other embodi
   temperature and / or relative humidity (RH ) that are at or ments, enalapril or a pharmaceutically acceptable salt
   above ambient levels ( e.g. 25 + 5 ° C .; 55 : 10 % RH ) . In some thereof, is present in about 0.1 % w / w , about 0.15 % w / w ,
   instances, an accelerated condition is at about 25 ° C. , about about 0.2 % w / w , about 0.25 % w / w , about 0.3 % w / w , about
   30 ° C. , about 35 ° C. , about 40 ° C. , about 45 ° C. , about 50 ° 0.35 % w / w , about 0.4 % w / w , about 0.45 % w / w , about 0.5 %
   C. , about 55 ° C. or about 60 ° C. In other instances, an 30 w / w , about 0.55 % w / w , about 0.6 % w / w , about 0.65 % w / w ,
   accelerated condition is above 55 % RH , about 65 % RH ,                 about 0.7 % w / w , about 0.75 % w / w , about 0.8 % w / w , about
   about 70 % RH , about 75 % RH or about 80% RH . In further               0.85 % w / w , about 0.9 % w / w , about 0.95 % w / w , or about 1 %
   instances, an accelerated condition is about 40 ° C. or 60 ° C.          w / w of the powder formulation . In some embodiments,
   at ambient humidity. In yet further instances , an accelerated           enalapril or a pharmaceutically acceptable salt thereof, is
   condition is about 40 ° C. at 75 + 5 % RH humidity.                   35 present in about 0.4 % w / w to about 0.7 % w / w of the powder
   Enalapril Oral Powder Formulation                                        formulation . In some embodiments, enalapril maleate is
      In another aspect , enalapril oral liquid formulations                present in about 0.45 % w / w of the powder formulation . In
   described herein are prepared from the reconstitution of an              some embodiments, enalapril maleate is present in about
   enalapril powder formulation . In some embodiments , the                 0.6 % w/w of the powder formulation . In some embodi
   enalapril powder formulation comprising enalapril, a sweet-           40 ments, enalapril is present in about 0.4 % w / w of the powder
   ener, a preservative, and optionally an excipient is dissolved           formulation. In some embodiments, enalapril is present in
   in water, a buffer, other aqueous solvent, or a liquid to form           about 0.5 % w / w of the powder formulation .
   an enalapril oral liquid formulation . In one embodiment, the               Various amounts and concentrations of other components
   sweetening agent is sucralose. In one embodiment, the                    ( sweeteners, buffers, preservatives, and the like) in the
   sweetener is not mannitol. In one embodiment, the sweet-              45 enalapril powder formulations are found in the previous
   ening agent is xylitol. In another embodiment, the preser                section describing the amounts and concentrations for the
   vative is sodium benzoate . In one embodiment, the preser                analogous enalapril oral liquid formulations. For example, in
   vative is a paraben preservative. In one aspect , the enalapril          some embodiments where sucralose is present in about 1 %
   powder formulation described herein comprises enalapril,                 w / w to about 30 % w/w of the solids in the oral liquid
   sucralose, and sodium benzoate . In some embodiments, the             50 formulation; in an analogous enalapril powder formulation ,
   enalapril powder formulation herein further comprises a                  sucralose would be about 1 % w/w to about 30 % w/w in the
   flavoring agent. In some embodiments, the enalapril powder               powder formulation . In some embodiments where sodium
   formulation herein further comprises one or more buffering               benzoate is present in about 1 % w / w to about 30 % w / w of
   agents .                                                                 the solids in the oral liquid formulation , in an analogous
      In some embodiments, enalapril or a pharmaceutically               55 enalapril powder formulation sodium benzoate is present in
   acceptable salt thereof, is present in about 0.5 % w/w to                about 1 % w/w to about 30% w / w in the powder formulation .
   about 30 % w/w of the powder formulation . In other embodi                   Liquid vehicles suitable for the enalapril powder formu
   ments , enalapril or a pharmaceutically acceptable salt                  lations to be reconstituted into an oral solution described
   thereof, is present in about 0.5 % w / w , about 1 % w / w , about       herein are selected for a particular oral liquid formulation
   1.5 % w / w , about 2 % w / w , about 2.5 % w / w , about 3 % w / w , 60 ( solution , suspension , etc. ) as well as other qualities such as
   about 3.5 % w / w , about 4 % w / w , about 4.5 % w / w , about 5 %      clarity, toxicity, viscosity, compatibility with excipients,
   w / w , about 5.5 % w / w , about 6 % w / w , about 6.5 % w / w , chemical inertness, palatability , odor, color and economy.
   about 7 % w / w , about 7.5 % w / w , about 8 % w / w , about 8.5 % Exemplary liquid vehicles include water, ethyl alcohol ,
   w / w , about 9 % w / w , about 9.5 % w / w , about 10 % w / w , about glycerin , propylene glycol , syrup ( sugar or other sweetener
   10.5 % w / w , about 11 % w / w , about 11.5 % w / w , about 12 % 65 based , e.g. , Ora - Sweet® SF sugar -free flavored syrup ),
   w / w , about 12.5 % w / w , about 13 % w / w , about 13.5 % w / w , juices (apple , grape, orange, cranberry, cherry, tomato and
   about 14 % w / w , about 14.5 % w / w , about 15 % w / w , about the like ), other beverages (tea, coffee , soft drinks, milk and
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 18 of 28 PageID: 308


                                                            US 10,786,482 B2
                                    21                                                                        22
   the like) , oils ( olive , soybean, corn , mineral, castor and the mixed berry. Flavoring agents can be used singly or in
   like) , and combinations or mixtures thereof. Certain liquid combinations of two or more .
   vehicles, e.g. , oil and water, can be combined together to          In further embodiments, the enalapril powder formulation
   form emulsions. In some embodiments , water is used for as described herein comprises a coloring agent for identity
   a vehicle for a enalapril oral liquid formulation . In other 5 and / or aesthetic purposes. Suitable coloring agents illustra
   embodiments, a syrup is used for as vehicle for a enalapril tively include FD & C Red No. 3 , FD & C Red No. 20 , FD & C
   oral liquid formulation . In yet other embodiments, a juice is Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No. 2 , D & C
   used for as a vehicle for a enalapril oral liquid formulation . Green No. 5 , D & C Orange No. 5 , caramel, ferric oxide and
      Buffering agents maintain the pH of the liquid enalapril mixtures thereof.
   formulation . Non - limiting examples of buffering agents 10 In further embodiments , the enalapril powder formulation
   include , but are not limited to sodium bicarbonate , potas        described herein comprises a thickener. Thickeners impart
   sium bicarbonate , magnesium hydroxide, magnesium lac viscosity or weight to the resultant liquid forms from the
   tate , magnesium gluconate , aluminum hydroxide, aluminum enalapril formulation described herein . Exemplary thicken
   hydroxide / sodium bicarbonate co precipitate, mixture of an ers include dextrin , cellulose derivatives (carboxymethyl
   amino acid and a buffer, a mixture of aluminum glycinate 15 cellulose and its salts , ethylcellulose, hydroxyethyl cellu
   and a buffer, a mixture of an acid salt of an amino acid and                lose , methylcellulose, hypromellose, and the like ) starches ,
   a buffer, and a mixture of an alkali salt of an amino acid and              pectin, polyethylene glycol , polyethylene oxide , trehalose
   a buffer. Additional buffering agents include citric acid ,                 and certain gums ( xanthan gum , locust bean gum , etc. ) .
   sodium citrate, sodium tartrate , sodium acetate , sodium                     Additional excipients are contemplated in the enalapril
   carbonate, sodium polyphosphate, potassium polyphos- 20 powder formulation embodiments. These additional excipi
   phate, sodium pyrophosphate, potassium pyrophosphate, ents are selected based on function and compatibility with
   disodium hydrogenphosphate, dipotassium hydrogenphos the the enalapril powder formulation described herein and
   phate, trisodium phosphate, tripotassium phosphate, sodium may be found, for example in Remington : The Science and
   acetate, potassium metaphosphate, magnesium oxide , mag Practice of Pharmacy. Nineteeth Ed ( Easton, Pa .: Mack
   nesium hydroxide, magnesium carbonate, magnesium sili- 25 Publishing Company, 1995 ) ; Hoover, John E. , Remington's
   cate , calcium acetate , calcium glycerophosphate, calcium Pharmaceutical Sciences. ( Easton , Pa .: Mack Publishing Co
   chloride, calcium hydroxide, calcium lactate , calcium car                  1975 ) ; Liberman , H. A. and Lachman , L. , Eds . , Pharma
   bonate , calcium bicarbonate, and other calcium salts . Some                ceutical Dosage Forms (New York, N.Y .: Marcel Decker
   buffering agents also impart effervescent qualities when a                  1980 ) ; and Pharmaceutical Dosage Forms and Drug Deliv
   powder is reconstituted in a solution .                                  30 ery Systems, Seventh Ed ( Lippincott Williams & Wilkins
      In some embodiments , the reconstituted oral liquid for                  1999 ) , herein incorporated by reference in their entirety.
   mulation comprises a buffer. In some embodiments, the                          In some embodiments, the enalapril oral liquid formula
   buffer comprises citric acid and sodium citrate .                           tion prepared from the powder formulations described
   In further embodiments, the enalapril powder formulation                    herein are homogenous . Homogenous liquids as used herein
   described herein comprises additional excipients including,              35 refer to those liquids that are uniform in appearance , identity ,
   but not limited to , glidants, flavoring agents, coloring agents            consistency and drug concentration per volume. Non -ho
   and thickeners. Additional excipients such as bulking agents ,              mogenous liquids include such liquids that have varied
   tonicity agents and chelating agents are within the scope of                coloring , viscosity and / or aggregation of solid particulates ,
   the embodiments .                                                           as well as non -uniform drug concentration in a given unit
      Glidants are substances that improve flowability of a                 40 volume. Homogeneity in liquids are assessed by qualitative
   powder. Suitable glidants include, but are not limited to ,                 identification or appearance tests and / or quantitative HPLC
   calcium phosphate tribasic , calcium silicate, cellulose (pow               testing or the like . The mixing methods and excipients
   dered ), colloidal silicon dioxide, magnesium silicate , mag                described herein are selected to impart a homogenous qual
   nesium trisilicate , silicon dioxide , starch , talc and the like . In      ity to a resultant enalapril oral liquid formulation .
   some embodiments, the enalapril powder formulations                      45 Mixing methods encompass any type of mixing that result
   described herein comprise a glidant.                                        in a homogenous enalapril oral liquid formulation . In some
      In another embodiment, the enalapril powder formulation                  embodiments, a quantity of an enalapril powder formulation
   described herein comprises a flavoring agent or flavorant to                is added to a liquid vehicle and then mixed by a stirring,
   enhance the taste or aroma of the formulation in liquid form .              shaking, swirling, agitation element or a combination
   Suitable natural or synthetic flavoring agents can be selected           50 thereof. In certain instances, a fraction of a enalapril powder
   from standard reference books , for example Fenaroli's                      formulation (i.e. , one -half, one -third, one - fourth , etc.) is
   Handbook of Flavor Ingredients, 3rd edition ( 1995 ) . Non                  added to a liquid vehicle, mixed by stirring, shaking, swirl
   limiting examples of suitable natural flavors, some of which        ing , agitation or a combination thereof, and the subsequent
   can readily be simulated with synthetic agents or combina           powder fraction ( s ) is added and mixed . In other embodi
   tions thereof, include almond , anise , apple , apricot, berga-  55 ments, a liquid vehicle is added to an enalapril powder
   mot , blackberry, blackcurrant, blueberry , cacao , caramel,        formulation in a container, for example, a bottle , vial , bag ,
   cherry , cinnamon , clove , coffee , coriander, cranberry, cumin ,  beaker, syringe, or the like . The container is then mixed by
   dill , eucalyptus, fennel, fig, ginger, grape, grapefruit, guava ,  stirring, shaking, swirling, agitation, inversion or a combi
   hop , lemon , licorice , lime , malt , mandarin , molasses , nut nation thereof. In certain instances, a fractional volume of
   meg , mixed berry, orange, peach, pear, peppermint, pine- 60 the liquid vehicle (i.e. , one -half, one -third , one - fourth vol
   apple, raspberry, rose , spearmint, strawberry , tangerine, tea , ume , etc. ) is added to a enalapril powder formulation in a
   vanilla , wintergreen , etc. Also useful, particularly where the container, mixed by stirring, shaking, swirling, agitation ,
   formulation is intended primarily for pediatric use , is tutti inversion or a combination thereof, and the subsequent
   frutti or bubblegum flavor, a compounded flavoring agent liquid fraction ( s) is added and mixed . In certain instances , a
   based on fruit flavors . Presently preferred flavoring agents 65 one -half fractional volume of the liquid vehicle is added to
   include anise , cinnamon, cacao , orange, peppermint, cherry an enalapril powder formulation in a container and mixing
   ( in particular wild cherry ), grape , bubblegum , vanilla , and            by shaking ; the other one-half fractional volume of the
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 19 of 28 PageID: 309


                                                           US 10,786,482 B2
                                   23                                                                       24
   liquid vehicle is then subsequently added and mixed . In any              Kits and Articles of Manufacture
   of the above embodiments , mixing (i.e. , stirring, shaking,                For the enalapril powder and liquid formulations
   swirling , agitation, inversion or a combination thereof)                 described herein , kits and articles of manufacture are also
   occurs for a certain time intervals such as about 10 seconds ,            described . Such kits can comprise a carrier, package , or
   about 20 seconds , about 30 seconds, about 45 seconds , about 5           container  that is compartmentalized to receive one or more
                                                                             containers such as vials , tubes , and the like , each of the
   60 seconds, about 90 seconds , about 120 seconds, about 2.5               container ( s) comprising one of the separate elements to be
   minutes, about 3 minutes, about 3.5 minutes , about 4 min                 used in a method described herein including an enalapril
   utes , or about 5 minutes. In embodiments, where there are                powder or liquid formulation . Suitable containers include,
   two or more mixing steps , the time intervals for each mixing        10   for example, bottles , vials , syringes, and test tubes. The
   can be the same (e.g. , 2x10 seconds ) or different (e.g. , 10            containers can be formed from a variety of materials such as
   seconds for first mixing and 20 seconds for second mixing) .              glass or plastic .
   In any of the above embodiments, a enalapril oral liquid                     A kit will typically may comprise one or more additional
   formulation is allowed to stand for a period of time such as              containers, each with one or more of various materials ( such
   about 10 minutes, about 20 minutes, about 30 minutes, about               as reagents , optionally in concentrated form , and / or devices )
   45 minutes, about 1 hour, about 1.5 hours or about 2 hours, 15 desirable
                                                                  enalapril
                                                                            from a commercial and user standpoint for an
                                                                            powder or liquid formulation described herein .
   to allow any air bubbles resultant from any of the mixing             Non - limiting examples of such materials include , but not
   methods to dissipate .                                                limited to , buffers, diluents, filters, needles , syringes; carrier,
   Stability of Enalapril Powder Formulation                             package , container, vial and / or tube labels listing contents
      The enalapril powder formulations described herein are 20 and /or instructions for use , and package inserts with instruc
   stable in various storage conditions including refrigerated , tions for use associated with an enalapril powder or liquid
   ambient and accelerated conditions. Stable as used herein formulation . A set of instructions will also typically be
   refer to enalapril powder formulations having about 95 % or included .
   greater of the initial enalapril amount and 5 % w/w or less              A label can be on or associated with the container. A label
   total impurities or related substances at the end of a given 25 can be on a container when letters, numbers or other
   storage period. The percentage of impurities is calculated characters forming the label are attached, molded or etched
   from the amount of impurities relative to the amount of into               the container itself; a label can be associated with a
                                                                         container when it is present within a receptacle or carrier that
   enalapril. Stability is assessed by HPLC or any other known also           holds the container, e.g. , as a package insert. A label can
   testing method . In some embodiments, the stable enalapril
   powder formulations have about 5 % w /w, about 4% wlw , 30 bespecific    used therapeutic
                                                                                   to indicate that the contents      are tocanbealsousedindicate
                                                                                                                                            for a
   about 3 % w / w , about 2.5 % w / w , about 2 % w / w , about 1.5 % directions for use ofapplication       . The label
   w / w , about 1 % w / w , or about 0.5 % w / w total impurities or described herein . the contents, such as in the methods
   related substances. In other embodiments, the stable enal Methods
   april powder formulations have about 5 % w/w total impu 35 Provided herein , in one aspect , are methods of treatment
   rities or related substances . In yet other embodiments, the comprising              administration of the enalapril oral liquid for
   stable enalapril powder formulations have about 4 % w / w mulations described                  herein to a subject. In some embodi
   total impurities or related substances. In yet other embodi ments, the enalapril oral liquid formulations described
   ments, the stable enalapril powder formulations have about herein treat hypertension in a subject. Hypertension as used
   3 % w/w total impurities or related substances. In yet other 40 herein includes both primary ( essential) hypertension and
   embodiments, the stable enalapril powder formulations have secondary hypertension. In certain instances, hypertension is
   about 2 % w / w total impurities or related substances. In yet classified in cases when blood pressure values are greater
   other embodiments, the stable enalapril powder formula than or equal to 140/90 ( systolic /diastolic ) mm Hg in a
   tions have about 1 % w/w total impurities or related sub              subject. In certain instances , the enalapril oral liquid formu
   stances.                                                           45 lations described herein treat a subject having a blood
      At refrigerated and ambient conditions, in some embodi pressure values are greater than or equal to 140/90 mm Hg .
   ments, the enalapril powder formulations described herein In certain instances, the enalapril oral liquid formulations
   are stable for at least 1 week , 2 weeks , 4 weeks, 6 weeks , 8 described herein treat primary ( essential) hypertension in a
   weeks, 10 weeks , 12 weeks , 16 weeks, 20 weeks , at least 24 subject. In other instances, the enalapril oral liquid formu
   weeks, at least 30 weeks , or at least 36 weeks . At accelerated 50 lations described herein treat secondary hypertension in a
   conditions , in some embodiments, the enalapril powder subject.
   formulations described herein are stable for at least 1 week ,       In other embodiments, the enalapril oral liquid formula
   at least 2 weeks , at least 3 weeks, at least 4 weeks , at least tions described herein treat prehypertension in a subject.
   5 weeks , at least 6 weeks, at least 7 weeks , at least 8 weeks , Prehypertension as used herein refers to cases where a
   at least 9 weeks , at least 10 weeks , at least 11 weeks or at 55 subject's blood pressure is elevated above normal but not to
   least 12 weeks. Accelerated conditions for the enalapril the level considered to be hypertension . In some instances ,
   powder formulations described herein include temperature             prehypertension is classified in cases when blood pressure
   and / or relative humidity (RH ) that are above ambient levels values are 120-139 / 80-89 mm Hg . In certain instances, the
   ( e.g. 25 + 4 ° C .; 55 : 10 % RH ) . In some instances, an accel enalapril oral liquid formulations described herein treat a
   erated condition is at about 30 ° C. , about 35 ° C. , about 40 ° 60 subject having blood pressure values of 120-139 / 80-89 mm
   C. , about 45 ° C. , about 50 ° C. , about 55 ° C. or about 60 ° C. Hg .
   In other instances, an accelerated condition is above 65 %             In yet other embodiments, the enalapril oral liquid for
   RH , about 70% RH , about 75 % RH or about 80% RH . In mulations described herein are prophylactically adminis
   further instances, an accelerated condition is about 40 ° C. or tered to subjects suspected of having , predisposed to , or at
   60 ° C. at ambient humidity. In yet further instances , an 65 risk of developing hypertension . In some embodiments, the
   accelerated condition is about 40 ° C. at 75 + 5 % RH humid          administration of enalapril oral liquid formulations
   ity.                                                                 described herein allow for early intervention prior to onset
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 20 of 28 PageID: 310


                                                         US 10,786,482 B2
                                  25                                                                        26
   of hypertension . In certain embodiments , upon detection of     about 0.01 mg , about 0.05 mg , about 0.1 mg , about 0.2 mg ,
   a biomarker, environmental, genetic factor, or other marker,     about 0.4 mg , about 0.6 mg , about 0.8 mg , about 1 mg , about
   the enalapril oral liquid formulations described herein are      1.5 mg, about 2 mg, about 2.5 mg , about 3 mg, about 4 mg,
   prophylactically administered to subjects .                      about 5 mg , about 6 mg , about 7 mg , about 8 mg , about 9
      In further embodiments, the enalapril oral liquid formu- 5 mg , about 10 mg , about 11 mg , about 12 mg , about 15 mg ,
   lations described herein treat heart failure (e.g. , symptomatic about 20 mg , about 25 mg , about 30 mg , about 35 mg , about
   congestive ) , asymptomatic left ventricular dysfunction, 40 mg , about 45 mg , about 50 mg , about 55 mg , about 60
   myocardial infarction, diabetic nephropathy and chronic mg , about 65 mg , about 70 mg , about 76 , mg , about 80 mg ,
   renal failure. In certain instances , the enalapril oral liquid about 85 mg , about 90 mg or about 100 mg , or any range
   formulations described herein treat symptomatic congestive 10 derivable therein . In certain instances, the enalapril oral
   heart failure . In other instances, the enalapril oral liquid liquid formulations described herein are provided in a dose
   formulations described herein treat asymptomatic left ven               per day of about 1 mg . In certain instances, the enalapril oral
   tricular dysfunction. In further instances, the enalapril oral          liquid formulations described herein are provided in a dose
   liquid formulations described herein treat myocardial infarc            per day of about 2 mg . In certain instances, the enalapril oral
   tion . In yet further instances , the enalapril oral liquid for- 15     liquid formulations described herein are provided in a dose
   mulations described herein treat diabetic nephropathy. In yet           per day of about 3 mg . In certain instances , the enalapril oral
   further instances , the enalapril oral liquid formulations              liquid formulations described herein are provided in a dose
   described herein treat chronic renal failure .                          per day of about 4 mg . In certain instances , the enalapril oral
   Dosing                                                                  liquid formulations described herein are provided in a dose
       In one aspect , the enalapril oral liquid formulations are     20   per day of about 5 mg . In certain instances , the enalapril oral
   used for the treatment of diseases and conditions described             liquid formulations described herein are provided in a dose
   herein . In addition , a method for treating any of the diseases        per day of about 6 mg . In certain instances , the enalapril oral
   or conditions described herein in a subject in need of such             liquid formulations described herein are provided in a dose
   treatment, involves administration of enalapril oral liquid             per day of about 7 mg . In certain instances, the enalapril oral
   formulations in therapeutically effective amounts to said          25   liquid formulations described herein are provided in a dose
   subject.                                                                per day of about 8 mg . In certain instances, the enalapril oral
       Dosages of enalapril oral liquid formulations described             liquid formulations described herein are provided in a dose
   can be determined by any suitable method . Maximum tol                  per day of about 9 mg . In certain instances, the enalapril oral
   erated doses ( MTD ) and maximum response doses ( MRD )                 liquid formulations described herein are provided in a dose
   for enalapril and / or enalaprilat can be determined via estab-    30   per day of about 10 mg . In certain instances, the enalapril
   lished animal and human experimental protocols as well as               oral liquid formulations described herein are provided in a
   in the examples described herein . For example, toxicity and            dose per day of about 11 mg . In certain instances , the
   therapeutic efficacy of enalapril and /or enalaprilat can be            enalapril oral liquid formulations described herein are pro
   determined by standard pharmaceutical procedures in cell                vided in a dose per day of about 12 mg . The dose per day
   cultures or experimental animals , including, but not limited      35   described herein can be given once per day or multiple times
   to , for determining the LD50 ( the dose lethal to 50% of the           per day in the form of sub - doses given b.i.d. , t.i.d. , q.i.d. , or
   population ) and the ED50 ( the dose therapeutically effective          the like where the number of sub - doses equal the dose per
   in 50 % of the population ). The dose ratio between the toxic           day.
   and therapeutic effects is the therapeutic index and it can be  In further embodiments, the daily dosages appropriate for
   expressed as the ratio between LDs, and ED 30. Enalapril 40 the enalapril oral liquid formulations described herein are
   dosages exhibiting high therapeutic indices are of interest . from about 0.01 to about 1.0 mg /kg per body weight . In one
   The data obtained from cell culture assays and animal embodiment, the daily dosages appropriate for the enalapril
   studies can be used in formulating a range of dosage for use            oral liquid formulations are from about 0.02 to about 0.8
   in human . The dosage of such compounds lies preferably mg/kg enalapril per body weight. In another embodiment,
   within a range of circulating concentrations that include the 45 the daily dosage appropriate for the enalapril oral liquid
   ED50 with minimal toxicity. The dosage may vary within formulations are from about 0.05 to about 0.6 mg/kg per
   this range depending upon the dosage form employed and body weight. In another embodiment, the daily dosage
   the route of administration utilized . Additional relative dos   appropriate for the enalapril oral liquid formulations is about
   ages , represented as a percent of maximal response or of 0.05 mg /kg, about 0.06 mg /kg, about 0.07 mg /kg, about 0.08
   maximum tolerated dose , are readily obtained via the pro- 50 mg /kg, about 0.10 mg/kg, about 0.15 mg /kg, about 0.20
   tocols .                                                         mg /kg, about 0.25 mg/kg, about 0.30 mg/kg, about 0.40
      In some embodiments, the amount of a given enalapril mg/kg, about 0.50 mg /kg, or about 0.60 mg/kg.
   oral liquid formulation that corresponds to such an amount          In other embodiments the enalapril oral liquid formula
   varies depending upon factors such as the particular enal tions are provided at the maximum tolerated dose (MTD ) for
   april salt or form , disease condition and its severity, the 55 enalapril and / or enalaprilat. In other embodiments, the
   identity (e.g. , weight, sex) of the subject or host in need of amount of the enalapril oral liquid formulations adminis
   treatment, but can nevertheless be determined according to tered is from about 10 % to about 90 % of the maximum
   the particular circumstances surrounding the case , including, tolerated dose ( MTD ) , from about 25 % to about 75 % of the
   e.g. , the specific agent being administered , the liquid com       MTD , or about 50 % of the MTD . In particular embodiments,
   position type , the condition being treated , and the subject or 60 the amount of the enalapril oral liquid formulations admin
   host being treated .                                                istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,
      In some embodiments, the enalapril oral liquid formula           40% , 45 % , 50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80% , 85 % ,
   tions described herein are provided in a dose per day from 90% , 95 % , 99 % , or higher, or any range derivable therein ,
   about 0.01 mg to 100 mg , from about 0.1 mg to about 80 mg , of the MTD for enalapril and / or enalaprilat.
   from about 1 to about 60 , from about 2 mg to about 40 mg 65 In further embodiments, the enalapril oral liquid formu
   of enalapril. In certain embodiments , the enalapril oral liquid        lations are provided in a dosage that is similar, comparable
   formulations described herein are provided in a daily dose of           or equivalent to a dosage of a known enalapril tablet
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 21 of 28 PageID: 311


                                                           US 10,786,482 B2
                                   27                                                                  28
   formulation . In other embodiments, the enalapril oral liquid a subject. In some other embodiments , enalapril oral liquid
   formulations are provided in a dosage that provides a formulations described herein are administered intermit
   similar, comparable or equivalent pharmacokinetic param           tently (e.g. drug holiday that includes a period of time in
   eters (e.g. , AUC , Cmax, Tmax, Cmin , T1 /2 ) as a dosage of a which the formulation is not administered or is administered
   known enalapril tablet formulation . Similar, comparable or 5 in a reduced amount ).
   equivalent pharmacokinetic parameters , in some instances ,          In some embodiments an enalapril oral liquid formulation
   refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % , is administered to a subject who is in a fasted state . A fasted
   90 % to 110% , or increments therein , of the given values . It state refers to a subject who has gone without food or fasted
   should be recognized that the ranges can , but need not be for a certain period of time . General fasting periods include
   symmetrical, e.g. , 85 % to 105 % .                            10 at least 4 hours, at least 6 hours , at least 8 hours, at least 10
   Administration                                                     hours , at least 12 hours , at least 14 hours and at least 16
      Administration of an enalapril oral liquid formulation is at hours without food. In some embodiments, an enalapril oral
   a dosage described herein or at other dose levels and liquid formulation is administered orally to a subject who is
   formulations determined and contemplated by a medical in a fasted state for at least 8 hours. In other embodiments,
   practitioner. In certain embodiments, the enalapril oral liquid 15 an enalapril oral liquid formulation is administered to a
   formulations described herein are administered for prophy          subject who is in a fasted state for at least 10 hours. In yet
   lactic and / or therapeutic treatments . In certain therapeutic other embodiments, an enalapril oral liquid formulation is
   applications, the enalapril oral liquid formulations are administered to a subject who is in a fasted state for at least
   administered to a patient already suffering from a disease , 12 hours . In other embodiments, an enalapril oral liquid
   e.g. , hypertension, in an amount sufficient to cure the disease 20 overnight
   or at least partially arrest or ameliorate the symptoms, e.g. ,
                                                                       formulation
                                                                                .
                                                                                   is administered to a subject who has fasted
   lower blood pressure . Amounts effective for this use depend        In other embodiments an enalapril oral liquid formulation
   on the severity of the disease , previous therapy, the patient's is administered to a subject who is in a fed state . A fed state
   health status, weight, and response to the enalapril formu refers to a subject who has taken food or has had a meal . In
   lations , and the judgment of the treating physician . Thera- 25 certain embodiments, an enalapril oral liquid formulation is
   peutically effective amounts are optionally determined by administered to a subject in a fed state 5 minutes post -meal ,
   methods including, but not limited to , a dose escalation 10 minutes post -meal , 15 minutes post - meal , 20 minutes
   clinical trial.                                                  post -meal, 30 minutes post-meal, 40 minutes post -meal, 50
      In prophylactic applications, the enalapril oral liquid minutes post -meal , 1 hour post - meal , or 2 hours post -meal .
   formulations described herein are administered to a patient 30 In certain instances , an enalapril oral liquid formulation is
   susceptible to or otherwise at risk of a particular disease , administered to a subject in a fed state 30 minutes post -meal .
   e.g. , hypertension. Such an amount is defined to be a                 In other instances , an enalapril oral liquid formulation is
   " prophylactically effective am         or dose.” In this use , the    administered to a subject in a fed state 1 hour post -meal . In
   precise amounts also depend on the patient's state of health , yet further embodiments , an enalapril oral liquid formula
   weight, and the like. When used in a patient, effective 35 tion is administered to a subject with food .
   amounts for this use will depend on the risk or susceptibility    In further embodiments described herein , an enalapril oral
   of developing the particular disease, previous therapy, the liquid formulation is administered at a certain time of day for
   patient's health status and response to the enalapril formu the entire administration period . For example, an enalapril
   lations , and the judgment of the treating physician .         oral liquid formulation can be administered at a certain time
      In certain embodiments wherein the patient's condition 40 in the morning, in the evening, or prior to bed . In certain
   does not improve, upon the doctor's discretion the admin       instances , an enalapril oral liquid formulation is adminis
   istration of an enalapril oral liquid formulations described           tered in the morning. In other embodiments, an enalapril oral
   herein are administered chronically, that is , for an extended         liquid formulation can be administered at different times of
   period of time , including throughout the duration of the              the day for the entire administration period. For example , an
   patient's life in order to ameliorate or otherwise control or 45 enalapril oral liquid formulation can be administered on 8:00
   limit the symptoms of the patient's disease . In other embodi am in the morning for the first day, 12 pm noon for the next
   ments , administration of an enalapril oral liquid formulation day or administration, 4 pm in the afternoon for the third day
   continues until complete or partial response of a disease .         or administration , and so on .
      In certain embodiments wherein a patient's status does Further Combinations
   improve , the dose of an enalapril oral liquid formulation 50 The treatment of certain diseases or conditions ( e.g. ,
   being administered may be temporarily reduced or tempo hypertension, heart failure , myocardial infarction and the
   rarily suspended for a certain length of time ( i.e. , a “ drug like ) in a subject with an enalapril oral liquid formulation
   holiday” ). In specific embodiments, the length of the drug described herein encompass additional therapies and treat
   holiday is between 2 days and 1 year, including by way of ment regimens with other agents in some embodiments.
   example only, 2 days , 3 days, 4 days, 5 days, 6 days , 7 days , 55 Such additional therapies and treatment regimens can
   10 days, 12 days, 15 days , 20 days , 28 days, 35 days, 50 include another therapy, e.g. , additional anti -hypertensives,
   days, 70 days, 100 days , 120 days, 150 days , 180 days, 200 for treatment of the particular disease or condition in some
   days, 250 days, 280 days, 300 days, 320 days, 350 days , and embodiments . Alternatively, in other embodiments , addi
   365 days . The dose reduction during a drug holiday is , by tional therapies and treatment regimens include other agents
   way of example only, by 10% -100% , including by way of 60 used to treat adjunct conditions associated with the disease
   example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,   or condition or a side effect from the enalapril oral liquid
   50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80% , 85 % , 90% , 95 % , formulation in the therapy.
   and 100 % .                                                           Additional agents for use in combination with an enalapril
      In some embodiments, enalapril oral liquid formulations oral liquid formulation described herein include , but are not
   described herein are administered chronically. For example, 65 limited to , diuretics (loop , thiazide, potassium - sparing, and
   in some embodiments, an enalapril oral liquid formulation is the like ), beta blockers (metoprolol, propanolol, pronethalol,
   administered as a continuous dose, i.e. , administered daily to and the like) , alpha blockers ( phentolamine, phenoxyben
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 22 of 28 PageID: 312


                                                        US 10,786,482 B2
                                 29                                                                        30
   zamine, tamsulosin , prazosin , and the like ), mixed alpha and         " patient," " subject" and " individual” are intended to include
   beta blockers (bucindolol, carvedilol, labetalol ), calcium living organisms in which certain conditions as described
   channel blockers (dihydropyridines such as nifedipine, herein can occur. Examples include humans, monkeys,
   amlodipine, etc. , dilitazem , verapamil and the like ), angio       cows , sheep, goats , dogs , cats, mice , rats, and transgenic
   tensin II receptor antagonists ( saralasin , lsartan , eprosartin, 5 species thereof.In a preferred embodiment, the patient is a
   irbesartan , valsartan, and the like) , other ACE inhibitors primate. In certain embodiments , the primate or subject is a
   ( captopril , quinapril, ramipril, lisinopril, zofenopril, and the human . In certain instances, the human is an adult. In certain
   like ), aldosterone antagonists (eplerenone, spironolactone
   and the like ) , vasodilators (hydralazine and the like ) and isinstances     , the human is child . In further instances, the human
                                                                          12 years of age or younger. In certain instances, the human
   alpha
   like ) .
            - 2 agonists ( clonidine, moxonidine, guanabenz and the 10 is elderly. In other instances, the human is 60 years of age
     Certain Definitions                                             or older. Other examples of subjects include experimental
      Unless defined otherwise , all technical and scientific cows   animals such as mice , rats, dogs , cats , goats, sheep, pigs , and
   terms used herein have the same meanings as commonly a disorder        . The experimental animal can be an animal model for
   understood by one of ordinary skill in the art. Although any 15 pathology. ,Ae.g.   , a transgenic mouse with hypertensive
   methods and materials similar or equivalent to those tension , or its variantscanorbeetiological
                                                                                    patient         a human suffering from hyper
                                                                                                                forms.
   described herein can be used in the practice or testing of          By   " pharmaceutically acceptable   " ,  it is meant the carrier,
   embodiments described herein , certain preferred methods, diluent or excipient must be compatible                     with the other
   devices, and materials are now described.                         ingredients  of  the formulation    and    not   deleterious to the
      As used herein and in the appended claims , the singular 20 recipient thereof.
   forms “ a ” , “ an ” , and “ the” include plural reference unless   The term “ pharmaceutical composition ” shall mean a
   the context clearly dictates otherwise . Thus, for example, composition          comprising at least one active ingredient,
   reference to “ an excipient ” is a reference to one or more whereby the composition           is amenable to investigation for a
   excipients and equivalents thereof known to those skilled in            specified , efficacious outcome in a mammal ( for example,
   the art, and so forth .                                            25
     The term " about” is used to indicate that a value includes           without limitation , a human ). Those of ordinary skill in the
   the standard level of error for the device or method being              art will understand and appreciate the techniques appropriate
   employed to determine the value . The use of the term “ or ”            for determining whether an active ingredient has a desired
   in the claims is used to mean “ and/ or ” unless explicitly efficacious       outcome based upon the needs of the artisan .
   indicated to refer to alternatives only or the alternatives are 30 amount " as used hereineffective
                                                                        A  “ therapeutically              amount ” or " effective
                                                                                                refers to the amount of active
   mutually exclusive, although the disclosure supports a defi compound
   nition that refers to only alternatives and to " and /or." The or medicinalorresponse
                                                                                    pharmaceutical agent that elicits a biological
   terms “ comprise ," " have ” and “ include ” are open - ended or human that is beinginsought
                                                                                              a tissue , system , animal , individual
                                                                                                    by a researcher, veterinarian,
   linking verbs . Any forms or tenses of one or more of these             medical doctor or other clinician , which includes one or
   verbs, such as “ comprises , " " comprising,” “ has,” “ having,” 35 more of the following: ( 1 ) preventing the disease; for
   " includes" and " including ," are also open - ended . For example , preventing a disease , condition or disorder in an
   example, any method that “ comprises , " " has” or “ includes ” individual that may be predisposed to the disease , condition
   one or more steps is not limited to possessing only those one or disorder but does not yet experience or display the
   or more steps and also covers other unlisted steps .              pathology or symptomatology of the disease , ( 2 ) inhibiting
      " Optional” or “ optionally ” may be taken to mean that the 40 the disease ; for example, inhibiting a disease, condition or
   subsequently described structure , event or circumstance may disorder in an individual that is experiencing or displaying
   or may not occur, and that the description includes instances the pathology or symptomatology of the disease , condition
   where the events occurs and instances where it does not.          or disorder (i.e. , arresting further development of the pathol
     As used herein , the term “ therapeutic ” means an agent              ogy and / or symptomatology ), and ( 3 ) ameliorating the dis
   utilized to treat ,combat, ameliorate, prevent or improve an 45 disorder
                                                                   ease; forinexample , ameliorating
                                                                               an individual           a disease, orcondition
                                                                                             that is experiencing     displayingor
   unwanted condition or disease of a patient. In some embodi              the pathology or symptomatology of the disease , condition
   ments , a therapeutic agent such as enalapril is directed to the        or disorder (i.e., reversing the pathology and/or symptoma
   treatment and /or the amelioration of, reversal of, or stabili          tology ) . As such , a non - limiting example of a “ therapeuti
   zation of the symptoms of hypertension described herein . cally effective amount" or " effective amount of a formu
      “ Administering” when used in conjunction with a thera- 50 lation of the present disclosure may be used to inhibit, block ,
   peutic means to administer a therapeutic systemically or or reverse the activation , migration, or proliferation of cells
   locally, as directly into or onto a target tissue , or to admin or to effectively treat hypertension or ameliorate the symp
   ister a therapeutic to a patient whereby the therapeutic                toms of hypertension .
   positively impacts the tissue to which it is targeted . Thus, as          The terms “ treat, ” “ treated ,” “ treatment, ” or “ treating ” as
   used herein , the term “ administering”, when used in con- 55 used herein refers to both therapeutic treatment in some
   junction with an enalapril formulation, can include, but is             embodiments and prophylactic or preventative measures in
   not limited to , providing an enalapril formulation into or             other embodiments , wherein the object is to prevent or slow
   onto the target tissue ; providing an enalapril formulation ( lessen ) an undesired physiological condition, disorder or
   systemically to a patient by, e.g. , oral administration disease , or to obtain beneficial or desired clinical results . For
   whereby the therapeutic reaches the target tissue or cells . 60 the purposes described herein , beneficial or desired clinical
   " Administering " a formulation may be accomplished by results include, but are not limited to , alleviation of symp
   injection , topical administration , and oral administration or toms ; diminishment of the extent of the condition , disorder
   by other methods alone or in combination with other known or disease ; stabilization (i.e. , not worsening ) of the state of
   techniques.                                                     the condition , disorder or disease ; delay in onset or slowing
      The term “ animal ” as used herein includes, but is not 65 of the progression of the condition, disorder or disease ;
   limited to , humans and non -human vertebrates such as wild , amelioration of the condition, disorder or disease state ; and
   domestic and farm animals. As used herein , the terms remission (whether partial or total ) , whether detectable or
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 23 of 28 PageID: 313


                                                                                        US 10,786,482 B2
                                                 31                                                                                                    32
   undetectable, or enhancement or improvement of the con                                                                 Example B : Effect of Buffer Concentration on the
   dition, disorder or disease . Treatment includes eliciting a                                                           Formation of Degradants in Enalapril Formulations
   clinically significant response without excessive levels of                                                                                     at 60 ° C.
   side effects . Treatment also includes prolonging survival as          Formulations were prepared containing enalapril maleate
   compared to expected survival if not receiving treatment. A 5 according         to Table B - 1 . The pH of each solution was
   prophylactic benefit of treatment includes prevention of a measured and
   condition, retarding the progress of a condition, stabilization or -0.5N NaOHadjusted         as needed to pH 3.3 with ~ 1N HCI
                                                                                         . Five milliliters of each formulation were
   of a condition, or decreasing the likelihood of occurrence of transferred to each of six 3 - dram glass screw -capped vials
   a condition . As used herein , “ treat, ” “ treated , ” “ treatment, with Teflon inserts in the caps. The vials were placed into a
   or “ treating ” includes prophylaxis in some embodiments. 10 60 ° C. heating chamber then two vials were removed and
                             EXAMPLES
                                                                        analyzed by HPLC at times of zero , ~ 66 and ~ 139 hours .
                                                                                                                                                 TABLE B - 1
          Example A : Effect of pH on the Formation of
         Degradants in Enalapril Formulations at 60 ° C.                                                    15                     Formulation ( in mg/mL ) of Enalapril Maleate
                                                                                                                              Formulations at Varying Citrate Buffer Concentrations
      Formulations were prepared containing enalapril maleate                                                                                                       Formulation
   according to Table A - 1 . The pH of each solution was
   recorded . Five milliliters of each formulation were trans                                                                                         B1 (5 mM B2 ( 10 mM B3 ( 20 mM
   ferred to each of four 3 - dram glass screw -capped vials with 20                                             Component                              citrate )     citrate )       citrate )
   Teflon inserts in the caps . The vials were placed into a 60 °                                                Enalapril maleate                        1.0          1.0             1.0
   C. heating chamber then one vial removed and analyzed by                                                      Citric acid , anhydrous                  0.82         1.65            3.29
   HPLC at times of zero , -97 and ~ 180 hours .
                                                       TABLE A - 1
                     Formulation (in mg/mL ) of Enalapril Formulations at Varying
                                        pH and Citrate Buffer Concentration
                                                                       Formulation (mM citrate )
   Component                                     A1 ( 50 ) A2 (50 ) A3 ( 50 ) A4 ( 50 ) A5 (50 ) A6 ( 25 )
   Enalapril maleate                               1.0           1.0          1.0          1.0          1.0           1.0
   Mannitol                                       50            50           50                        50             6.0
   Xylitol                                                                                50
   Citric acid , anhydrous                         7.35          5.05         2.55         5.05         5.05          2.76
   Sodium citrate , dihydrate                      3.45          7.0         10.8         7.0           7.0           3.15
   Sodium benzoate                                 1             1            1            1            1
   Methylparaben sodium                                                                                 1.75          0.335
   Propylparaben sodium                                                                                               0.095
   Potassium sorbate                                                                                                  1
   Sucralose                                       0.75          0.75         0.75         0.75         0.75          0.75
   Silicon dioxide                                                                                                    0.075
   Mixed berry flavor (powdered )                  0.5           0.5          0.5          0.5          0.5           0.5
   Water                                           qs            qs            qs          qs           qs              qs
   pH                                              3.4           4.4          5.2
                                                                                           4.4          4.5           4.4

   qs = sufficient quantity
                                                                                                        45
      The results of the HPLC analysis for the two main                                                                                     TABLE B - 1 - continued
   degradants in the samples, enalapril diketopiperazine and
   enalaprilat, are provided in Table A - 2 .                                                                                     Formulation ( in mg /mL ) of Enalapril Maleate
                                                                                                                              Formulations at Varying Citrate Buffer Concentrations
                                                                                                        50
                                  TABLE A - 2
                                                                                                                                                                    Formulation
                   Primary Degradants Present in the Formulations
                                   ( % w / w of enalapril maleate )                                                                                   B1 (5 mM B2 ( 10 mm B3 ( 20 mM
                                                       Formulation                                               Component                              citrate )     citrate )       citrate )
                                                                                                        55
   Hours at 60 ° C.           A1          A2           A3             A4           A5          A6                Sodium citrate , anhydrous              0.19          0.38            0.75
                                                                                                                 Sodium benzoate                         1.0           1.0             1.0
                                     Enalapril Diketopiperazine                                                  Sucralose                               0.7           0.7             0.7
              0               0.04        0.03           0.03         0.03         0.03         0.03             Mixed berry flavor (powdered )          0.5           0.5             0.5
            97                3.10        0.88           0.33         0.86         0.70         0.53    60 Water                                           qs           qs               qs
           180                6.21        1.77           0.75         1.73         1.43         1.07             PH                                       3.3          3.3             3.3
                                             Enalaprilat
                                                                                                                 qs = sufficient quantity
              0               0.09        0.15          0.29          0.14         0.16         0.12
            97                5.20       16.9          47.4          16.1         20.3         15.6
           180                9.94       34.8       113              33.5         42.2         31.7     65          The results of the HPLC analysis for the two main
                                                                                                                 degradants in the samples, enalapril diketopiperazine and
                                                                                                                 enalaprilat, are provided in Table B - 2 .
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 24 of 28 PageID: 314


                                                                        US 10,786,482 B2
                                           33                                                                                          34
                                  TABLE B - 2                                                                          TABLE C - 1 - continued
                         Primary Degradants Present in the                                                   Composition of Enalapril Maleate Formulations
                     Formulations ( % w /w of enalapril maleate)
                                                                                             Component                          C1          C2        C3             C4       C5
      Hours                                 Formulation                                 5
                                                                                             Xylitol                                                                44.7     43.4
    at 60 ° C. B1 (5 mM citrate ) B2 ( 10 mM citrate ) B3 (20 mM citrate )                   Citric acid , anhydrous           2.33      2.90         3.21           2.50     2.50
                                                                                             Sodium citrate,                   2.00      1.20         0.87           1.90     1.90
                        Enalapril Diketopiperazine                                           anhydrous
                                                                                             Sodium methylparaben              0.34      0.34         1.00           1.00     1.00
         0              0.01                    0.01                    0.01            10 Sodium propylparaben                0.09      0.09         1.00
        66              1.57                    1.63                    1.79                 Potassium sorbate                 1.00      1.00
       139              3.70                    3.94                    4.24                 Sodium benzoate                                          1.00           1.00     1.00
                                      Enalaprilat                                            Xanthan Gum                                                                      0.75
                                                                                             Colloidal silicon dioxide         0.07      0.07         0.50                    0.50
         0              0.00                    0.00                    0.00                 Sucralose                         0.75      0.75         0.75           0.75     0.75
        66              2.98                    2.88                    3.19            15   Mixed berry flavor                0.50      0.50         0.50           0.50     0.50
       139              5.28                    5.23                    5.69                 pH (measured )                    4.4       3.8          3.7            4.4      4.6


                                                                                               The results of the HPLC analysis for the diketopiperazine
               Example C : Stability of Enalapril Maleate                                    and enalaprilat degradants in the samples are provided in
            Formulations Containing Paraben Preservatives         20                         Table C - 2 .

       Powder formulations were prepared according to Table                                                                     TABLE C - 2
   C - 1 . All components in each formulation except mannitol or                                   Degradant Content After Storage ( % w / w of enalapril maleate )
   xylitol were added to a 2.5 liter polypropylene screw capped
   bottle . The bottle was mixed by inversion in a Turbula? 25                                                             Storage                    Formulation
   mixer for 5 minutes. The mannitol or xylitol was then added                                                     ° C. Weeks            C1      C2          C3       C4      C5
   and the components mixed for 5 minutes, then the other half
   of the mannitol or xylitol was added and a final mix of 5                                                                  Liquid Formulations
   minutes was completed.                                                                    Diketopiperazine          5                 0.03    0.04        0.04     0.02    0.02
       One liter of solution formulation was prepared for each 30                                                                        0.02    0.03        0.03     0.03    0.02
   formulation by adding an appropriate amount of each pow                                                         19-23
                                                                                                                                 +
                                                                                                                                 O       0.03
                                                                                                                                         0.03
                                                                                                                                                 0.04
                                                                                                                                                 0.04
                                                                                                                                                             0.04
                                                                                                                                                             0.04     0.02    0.02
   dered formulation to a 1 liter volumetric flask and adding                                                                    4       0.05    0.09        0.11     0.05    0.04
   about 500 mL water. The powder was dissolved with mixing                                                                      8       0.08    0.17        0.19
   then the contents of the flask were brought to 1 liter with 35                                                  40            0       0.03    0.04        0.04     0.02    0.02
   additional water . The amount of powder to add was deter                                                                      4
                                                                                                                                 8
                                                                                                                                         0.35
                                                                                                                                         0.65
                                                                                                                                                 0.91
                                                                                                                                                 1.80
                                                                                                                                                             1.10
                                                                                                                                                             2.05
                                                                                                                                                                      0.31    0.21
   mined such that the final concentration of enalapril maleate                              Enalaprilat               5         0       0.18    0.14        0.12     0.13    0.19
   was 1.0 mg /mL . Fifty milliliter aliquots of each formulation                                                                4       0.18    0.15        0.12     0.43    0.53
   were placed into HDPE bottles . The bottles were screw                                                                        8       0.55     0.38 0.34
   capped and placed into storage at 5 ° C. + 3 ° C. , at room                                                     19-23         0       0.18     0.14 0.12 0.13              0.19
   temperature ( 19-23 ° C. ) and at 40 ° C. + 2 ° C. At various 40                                                              4
                                                                                                                                 8
                                                                                                                                         1.35
                                                                                                                                         3.34
                                                                                                                                                  0.83 0.80 1.75
                                                                                                                                                  2.06 1.98
                                                                                                                                                                              2.29
   times , bottles were removed from the storage condition and                                                     40                    0.18     0.14 0.12 0.13              0.19
   analyzed .
                                   TABLE C - 1
                                                                                                                                 Oto    10.49
                                                                                                                                        24.37
                                                                                                                                                  6.08 6.11 12.30
                                                                                                                                                 14.12 14.22
                                                                                                                                                                             16.14


                                                                                        45
                  Composition of Enalapril Maleate Formulations
                                                                                                      Example D : Stability of Enalapril Maleate
   Component                        C1          C2       C3        C4           C5                 Formulations Containing Benzoate Preservative
                             Powder Formulation ( grams)                                      Powder formulations were prepared according to Table
                                                                                        50
   Enalapril maleate              12.3      12.3          8.86     2.16          2.16      D - 1 . All components in each formulation except enalapril
   Mannitol                       74.4      74.4        394.0                              maleate and mannitol or xylitol were blended with a mortar
   Xylitol                                                        96.6         93.7        and pestle . The enalapril maleate was then triturated with the
   Citric acid , anhydrous        28.6      35.6         28.4      5.40          5.40      blend. The xylitol or mannitol was then triturated into the
   Sodium citrate,
   anhydrous
                                  24.5       14.7         7.73     4.10          4.10      blend using a geometric dilution technique.
   Sodium methylparaben             4.17      4.17        8.86     2.16          2.16
                                                                                        55    One liter of solution formulation was prepared for each
   Sodium propylparaben             1.10      1.10                                         formulation by adding an appropriate amount of each pow
   Potassium sorbate               12.3      12.3                                          dered formulation to a 1 liter volumetric flask and adding
   Sodium benzoate
   Xanthan Gum
                                                          8.86     2.16          2.16
                                                                                 1.62
                                                                                           about 500 mL water. The powder was dissolved with mixing
   Colloidal silicon dioxide        0.859       0.859     4.43                   1.08
                                                                                           then the contents of the flask were brought to 1 liter with
   Sucralose                        9.20        9.20      6.64     1.62          1.62   60 additional water . The amount of powder to add was deter
   Mixed berry flavor               6.13        6.13      4.43     1.08          1.08        mined such that the final concentration of enalapril maleate
   Total solids                  173.5      170.7       472.3    115.2         115.2
                                                                                             was 1.0 mg/mL. Fifty milliliter aliquots of each formulation
                             Liquid Formulations (mg/mL )                                    were placed into HDPE bottles . The bottles were screw
                                                                                           capped and placed into storage at 5º C.13 ° C. , at room
   Enalapril maleate                1.00        1.00      1.00     1.00          1.00   65 temperature ( 19-23 ° C. ) and at 40 ° C. - 2 ° C. At various
   Mannitol                         6.07        6.07     44.5                              times , bottles were removed from the storage condition and
                                                                                           analyzed.
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 25 of 28 PageID: 315


                                                                             US 10,786,482 B2
                                               35                                                                               36
                                                         TABLE D - 1
                                  Composition of Enalapril Maleate Formulations
   Component                                                 D1        D2         D3              D4           D5       D6
                                                Powder Formulation ( grams)
   Enalapril maleate                                          3.63     3.63         3.63          3.63          8.86     2.16
   Xylitol                                                  537.2    176.1                   537.2
   Mannitol                                                                     319.4                         401.2    98.9
   Citric acid , anhydrous                                   11.9     11.9       11.9           10.4           26.6     6.48
   Sodium citrate , anhydrous                                 2.72     2.72       2.72           4.86          11.3     2.76
   Sodium benzoate                                            3.63     3.63       3.63           3.63           8.86     2.16
   Rebalance X60 (sucralose and maltodextrin )                        10.9
   Sucralose                                                                                                    6.64     1.62
   Saccharin sodium                                                                 7.26
   Colloidal silicon dioxide                                                                                    4.43
   Mixed berry flavor                                         1.82      1.82        1.82          1.82          4.43     1.08

   Total solids                                             561      211        350 .        561              472.3    115.2
                                                Liquid Formulations (mg/mL )
   Enalapril maleate                                          1.00     1.00         1.00          1.00          1.00     1.00
   Xylitol                                                  148.0     48.5                   148.0
   Mannitol                                                                      88.0                          45.3    45.8
   Citric acid , anhydrous                                    3.29     3.29       3.29            2.85          3.00     3.00
   Sodium citrate , anhydrous                                 0.75     0.75       0.75            1.34          1.28     1.28
   Sodium benzoate                                            1.00     1.00       1.00            1.00          1.00     1.00
   Rebalance X60 (sucralose and maltodextrin )                         3.00
   Sucralose                                                                                                    0.75     0.75
   Saccharin sodium                                                                 2.00
   Colloidal silicon dioxide                                                                                    0.50
   Mixed berry flavor
   pH (measured )                                            3.5
                                                              0.50
                                                              3.2
                                                                       0.50
                                                                       3.2
                                                                                    0.50
                                                                                    3.4           9.50
                                                                                                  0.50
                                                                                                  3.7
                                                                                                                0.50
                                                                                                                3.6
                                                                                                                         0.50
                                                                                                                         3.6



      The results of the HPLC analysis for the diketopiperazine
   and enalaprilat degradants in the samples are provided in
   Table D - 2 .
                                               TABLE D - 2
                   Degradant Content After Storage (% w /w of enalaprilmaleate )
                                Storage                               Formulation

                             C.      Weeks          D1       D2       D3       D4          D5            D6

                                           Liquid Formulations
   Diketopiperazine         5              0        0.04     0.02    0.03      0.03        0.04        0.04
                                          4         0.07     0.03     0.05     0.05        0.03
                                          8         0.11     0.06     0.08     0.08        0.05
                                      12            0.08     0.04     0.06     0.06
                                      26            0.11     0.07     0.09     0.07
                          19-23           0         0.04     0.02     0.03     0.03        0.04        0.04
                                          4         0.27     0.21     0.24     0.16        0.12        0.12
                                           8        0.50     0.41    0.47      0.30        0.21        0.22
                                      12            0.62     0.52    0.58      0.35
                                      26             1.39    1.20    1.33      0.76
                           40             0          0.04    0.02     0.03     0.03        0.04        0.04
                                          4          2.87    2.32     2.73     1.57        1.21        1.13
                                          8          5.13    4.42     5.44     2.97        2.23        2.16
                                      12             6.86    5.90     6.90     3.91
                                      26            13.63   12.18    13.56     7.74
   Enalaprilat              5             0          0.03    0.02     0.03     0.03        0.13        0.14
                                          4          0.15    0.12     0.06     0.17        0.13
                                           8         0.22    0.19     0.22     0.27        0.34
                                          12        0.20     0.17     0.19     0.22
                                           8        0.32     0.30    0.30      0.39
                          19-23            0        0.03     0.02     0.03     0.03        0.13        0.14
                                          4         0.69     0.66     0.69     0.86        0.74        0.76
                                          8         1.38     1.33    1.41      1.68        1.83        1.82
                                          12        1.71     1.68    1.73      2.15
                                      26            3.63     3.61    3.59      4.55
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 26 of 28 PageID: 316


                                                                                 US 10,786,482 B2
                                           37                                                                                                        38
                                    TABLE D - 2 - continued
                Degradant Content After Storage ( % w /w of enalapril maleate )
                             Storage                                        Formulation
                        ° C.        Weeks        D1             D2          D3          D4           D5        D6

                        40             0         0.03           0.02      0.03      0.03             0.13      0.14
                                       4         4.76           4.42      4.76      6.45             5.55      5.24
                                       8          8.95         8.64       9.61     12.94            12.73     12.18
                                      12         11.01        10.64      11.41     16.16
                                      26         17.18        17.11      18.30     27.36



        Example E : Stability of Solution Formulations of                                                                                         -continued
                        Enalapril Maleate                                                             15
                                                                                                                     Composition of Enalapril Maleate Formulations (mg/mL )
      Solution formulations were prepared according to Table                                                 Component                E1        E2      E3      E4      E5                      E6
   E - 1 . Thirty milliliter aliquots of each formulation were
   placed into HDPE bottles. The bottles were screw -capped Citric acid anhydrous                                                           3.29      3.29      3.29      3.29         1.65    0.82
   and placed into storage at 5 ° C. - 3 ° C. , at room temperature 20 Sodium citrate                                                       0.75      0.75      0.75      0.75         0.38    0.19
   ( 19-23 ° C. ) and at 40 ° C. - 2 ° C. At various times , bottles                                        anhydrous
                                                                                                            Sodium benzoate                 1.00      1.00      1.00       1.00        1.00    1.00
   were removed from the storage condition and analyzed.                                                     Sucralose                                          0.70                  0.70     0.70
                                                                                                             Mixed berry flavor             0.50                0.50         1.50     0.50     0.50
                                                                                                            Water                            qs          qs        qs        qs        qs       qs
            Composition of Enalapril Maleate Formulations (mg/mL)                                     25 PH (measured)                      3.3       3.3       3.3       3.4         3.3      3.3

   Component                   E1           E2           E3            E4        E5          E6              qs = sufficient quantity
   Enalapril maleate           1.00          1.00        1.00          1,00      1.00        1.00               The results of the HPLC analysis for the diketopiperazine
   Xylitol                   150           200                       150                                    and enalaprilat degradants in the samples are provided in
                                                                                                             Table E - 2 .
                                                                                                                                         TABLE E - 2
                                                                                                            Degradant Content After Storage (% w /w of enalaprilmaleate )
                                                                                                                           Storage                             Formulation

                                                                                                                      o C.      Weeks      E1       E2        E3        E4          E5        E6

                                                                                      Diketopiperazine                 5           0       0.01     0.01      0.01      0.01        0.01      0.01
                                                                                                                                   4       0.04     0.04      0.05      0.04        0.03      0.03
                                                                                                                                   8       0.04     0.04      0.04      0.04        0.03      0.03
                                                                                                                                  12       0.05     0.05      0.04      0.05        0.04      0.04
                                                                                                                                  26       0.07     0.06      0.05      0.06        0.05      0.05
                                                                                                                                  52                                                0.15      0.14
                                                                                                                                   62      0.18     0.18      0.16      0.14
                                                                                                                      19-23         0      0.01     0.01      0.01      0.01        0.01      0.01
                                                                                                                                    4      0.22     0.23      0.21      0.20        0.16      0.15
                                                                                                                                     8     0.35     0.35      0.32      0.31        0.29      0.28
                                                                                                                                  12       0.58     0.59      0.53      0.51        0.48      0.45
                                                                                                                                  26       1.10     1.10      1.00      0.95        0.97      0.92
                                                                                                                                  52                                                2.30      2.15
                                                                                                                                  62       3.02     3.04      2.75      2.64
                                                                                                                      40             0     0.01     0.01      0.01      0.01        0.01      0.01
                                                                                                                                     4     2.65     2.71      2.60      2.42        1.76      1.68
                                                                                                                                     8     4.02     3.99      3.99      3.62        3.37      3.13
                                                                                                                                   12      6.72     6.42      6.47      6.00        5.53      5.29
                                                                                        Enalaprilat                    5            0      0.00     0.00      0.01      0.02        0.00      0.00
                                                                                                                                    4      0.07     0.09      0.10      0.11        0.07      0.08
                                                                                                                                     8     0.12     0.14      0.10      0.13        0.09      0.08
                                                                                                                                   12      0.16     0.15      0.15      0.17        0.14      0.11
                                                                                                                                  26       0.31     0.30      0.29      0.31        0.27      0.24
                                                                                                                                  52                                                0.54      0.46
                                                                                                                                  62       0.75     0.75      0.74      0.71
                                                                                                                      19-23        0       0.00     0.00      0.01      0.02        0.00      0.00
                                                                                                                                   4       0.65     0.65      0.68      0.70        0.50      0.46
                                                                                                                                   8       1.17     1.19      1.20      1.23        1.03      0.95
                                                                                                                                  12       1.67     1.69      1.72      1.80        1.30      1.21
                                                                                                                                  26       3.36     3.38      3.42      3.57        3.07      2.90
                                                                                                                                  52                                                6.32      5.88
                                                                                                                                  62       7.99     8.02      8.04      8.57
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 27 of 28 PageID: 317


                                                                               US 10,786,482 B2
                                          39                                                                                        40
                                   TABLE E - 2 - continued
                 Degradant Content After Storage ( % w / w of enalapril maleate )
                              Storage                                   Formulation
                         ° C.      Weeks        E1         E2           E3           E4          E5       E6
                         40           0        0.00        0.00        0.01         0.02         0.00    0.00
                                      4        4.85        4.93        5.19          5.42        3.33    3.25
                                      8         8.08       8.06         8.56         9.01        6.65    6.35
                                     12        10.70      10.48        11.01        11.97        8.14    7.96



           Example F : Effect of pH on the Formation of                                                    an equivalent oral dose of the commercially available
        Degradants in Enalapril Formulations at 5 ° C. and           15
                                                                        comparator product, Epaned ( enalapril maleate ) Powder
                                 19-23 ° C.                             for Oral Solution , 1 mg/mL , when administered under fasted
                                                                        conditions in healthy adults.
      The content of enalapril diketopiperazine and enalaprilat            Study design: Thirty -two healthy adult subjects received
   that were formed after 8 weeks of storage for formulations a single 10 mL dose of enalapril maleate oral solution , 1
   C1 - C3 and D1 - D5 are plotted in FIG . 1 ( 5º C. - 3 ° C. ) and 20 mg/mL, formulation E - 5 ( Treatment A) , in one period and a
   FIG . 2 ( 19-23 ° C. storage ) . These formulations all contained separate single dose of Epaned Powder for Oral Solution
   20 mM total citrate buffer content, but with varying pH . The ( reconstituted with the supplied Ora - Sweet SF ) , 1 mg /mL
   general effects of formulation pH on the formation of the ( Treatment B ) in another period. Each treatment was admin
   two main enalapril degradants are shown.                             istered after an overnight fast of at least 10 hours , followed
        Example G : Antimicrobial Effectiveness Testing of
                                                                     25 by  a 4 -hour fast postdose . Each treatment was administered
                                                                        via a 10 mL oral dosing syringe and followed with 240 mL
              Enalapril Maleate Formulations at pH 3.3                  of room temperature tap water. Each drug administration
      Enalapril formulations were prepared containing differing         was   separated by a washout period of at least 7 days .
   amounts of the antimicrobial preservative, sodium benzoate . 30 scheduled ateach
                                                                           During          study period , meals were the same and
                                                                                        approximately  the same times relative to dose .
   The formulations were then tested for antimicrobial effec            In   addition ,  during  each   period , blood samples were
   tiveness (AET) according to the procedures in the 2014 obtained prior to and following                  each dose at selected times
   United States Pharmacopeia 37 , Chapter < 51 > for category through 72 hours postdose . Pharmacokinetic               samples were
   3 products. The formulation of the formulations and the AET analyzed for enalapril and its metabolite enalaprilat            using a
   results are included in Table G - 1 .                             35 validated analytical method ; appropriate pharmacokinetic
                               TABLE G - 1                              parameters were calculated for each formulation using non
                                                                        compartmental methods . Blood was also drawn and urine
                     Formulation and AET Testing Results                collected for clinical laboratory testing at screening and at
                                                                                                        the end of the study.
                                                        Formulation                                40     Statistical Methods: The concentration - time data were
                                     G1          G2             G3           G4           G5            analyzed using noncompartmental methods in PhoenixTM
                                                                                                        WinNonlin® (Version 6.3 , Pharsight Corporation ). Concen
                                Formulation (mg/mL )                                                    tration - time data that were below the limit of quantitation
   Enalapril maleate                 1.00        1.00        1.00            1.00      1.00             (BLQ ) were treated as zero in the data summarization and
   Xylitol                         150         150         150           150                       45 descriptive statistics . In the pharmacokinetic analysis, BLQ
   Sucralose                                                                           0.70           concentrations were treated as zero from time- zero up to the
   Citric acid , anhydrous
   Sodium citrate , anhydrous
                                     1.64
                                     0.322
                                                 1.64
                                                 0.322
                                                                1.64
                                                             0.322
                                                                             1.64
                                                                             0.322
                                                                                       1.80           time at which the first quantifiable concentration was
   Sodium citrate , dihydrate                                                          0.165          observed; embedded and / or terminal BLQ concentrations
   Sodium benzoate                   1.00        0.80        0.60            0.40      1.0            were treated as “missing ”. Actual sample times were used
   Mixed berry flavor                0.50       0.50         0.50            0.50      0.50        50 for all pharmacokinetic and statistical analyses. Analysis of
   Water
   HCl/NaOH
                                     q.s.       q.s.         q.s.
                                                as need to achieve pH
                                                                             q.s.       q.s.          variance (ANOVA ) and the Schuirmann's two one - sided
   Measured pH                      3.3      3.3                3.3          3.3       3.3            t - test procedures at the 5 % significance level were applied to
                                   AET Results                                                        the log - transformed pharmacokinetic exposure parameters,
                                                                                                        Cmax, AUCjast, and AUCinf The 90 % confidence interval for
   USP < 51 >                       Pass        Pass        Pass    55 the ratio of the geometric means ( Test/Reference ) was
                                                                             Pass         Pass

   qs = sufficient quantity                                            calculated . Bioequivalence was declared if the lower and
                                                                       upper confidence intervals (CIS ) of the log - transformed
                                                                       parameters were within 80 % to 125 % for enalapril and
        Example H : Clinical Trial: Bioavailability Study of           enalaprilat.
          10 mg Enalapril Maleate Oral Solution Vs. 10 mg 60 Results : A total of 32 subjects participated in the study and
        Epaned® Powder for Oral Solution (Reconstituted )              29 of these subjects completed both study periods. Based on
                            Under Fasted Conditions                    the geometric mean ratios of enalapril and enalaprilat AUCs
                                                                       (AUClast and AUCing ), the bioavailability of the enalapril
       The objective of this open- label , randomized , two -period, maleate oral solution ( formulation E - 5 ) relative to the
   two - treatment, two -way crossover study was to compare the 65 Epaned Powder for Oral Solution ( reconstituted ) was
   oral bioavailability of a test formulation of 10 mL of approximately 105 % to 110 % . The geometric mean ratios of
   enalapril maleate oral solution, 1 mg/mL ( formulation E - 5 ) ,                                     enalapril and enalaprilat Cm were approximately 115 % and
Case 3:21-cv-12870-MAS-DEA Document 9-12 Filed 07/14/21 Page 28 of 28 PageID: 318


                                                       US 10,786,482 B2
                                41                                                                      42
   109 % , respectively. The 90 % CI for comparing the maxi                 ( ii ) a buffer comprising a mixture of citric acid and
   mum exposure to enalapril and enalaprilat, based on in                       sodium citrate , wherein the buffer is present at a
   (Cmar ), was within the accepted 80 % to 125 % limits . The                   concentration between about 5 mM and about 20 mM
   90 % CIs for comparing total systemic exposure to enalapril                   in the oral liquid formulation ;
   and enalaprilat, based on In (AUCiast) and In (AUCing), was       5      ( iii ) about 1 mg /ml sodium benzoate ;
   within the accepted 80 % to 125 % limits . Therefore , the test          ( iv) water; and
   formulation of enalapril maleate oral solution, 1 mg/mL , is             (v ) optionally a sweetener, a flavoring agent, or both ;
   bioequivalent to the reference product, Epaned Powder for                wherein the formulation maintains about 95 % w / w or
   Oral Solution ( reconstituted ), 1 mg/mL , under fasted con                   greater of the initial enalapril amount at the end of a
   ditions .                                                         10          storage period of at least 12 months at about 5 + 3 ° C.
      While preferred embodiments of the present invention                  14. An oral liquid formulation, comprising:
   have been shown and described herein , it will be obvious to             ( i ) about 0.6 to about 1.2 mg /ml enalapril or a pharma
   those skilled in the art that such embodiments are provided                   ceutically acceptable salt or solvate thereof;
   by way of example only. Numerous variations, changes, and                ( ii ) a buffer comprising a mixture of citric acid and
   substitutions will now occur to those skilled in the art 15                 sodium citrate, wherein the buffer is present at a
   without departing from the invention. It should be under                    concentration between about 5 mM and about 20 mM
   stood that various alternatives to the embodiments of the                      in the oral liquid formulation ;
   invention described herein may be employed in practicing                  ( iii ) about 1 mg/ml of a preservative, wherein the preser
   the invention . It is intended that the following claims define               vative is a paraben or a mixture of parabens; and
   the scope of the invention and that methods and structures 20             ( iv ) water;
   within the scope of these claims and their equivalents be                 wherein the formulation maintains about 95 % w / w or
   covered thereby.                                                              greater of the initial enalapril amount at the end of a
      What is claimed is :                                                        storage period of at least 12 months at about 5 + 3 ° C.
      1. An oral liquid formulation , comprising:                            15. The oral liquid formulation of claim 14 further com
      (i ) about 0.6 to about 1.2 mg /ml enalapril or a pharma       25   prising a sweetener.
           ceutically acceptable salt or solvate thereof;                    16. The oral liquid formulation of claim 15 , wherein the
      (ii ) a buffer comprising a mixture of citric acid and              sweetener is sucralose .
         sodium citrate , wherein the buffer is present at a                17. The oral liquid formulation of claim 14 further com
         concentration between about 5 mM and about 20 mM               prising a flavoring agent.
         in the oral liquid formulation ;                            30    18. The oral liquid formulation of claim 14 , wherein the
      (iii ) about 1 mg /ml sodium benzoate ; and                       formulation does not contain mannitol.
     ( iv ) water;                                                         19. The oral liquid formulation of claim 14 , wherein the
         wherein the formulation maintains about 95 % w/w or            formulation does not contain silicon dioxide .
             greater of the initial enalapril amount at the end of a       20. The oral liquid formulation of claim 14 , wherein the
             storage period of at least 12 months at about 5 +3 ° C. 35 pH of the oral liquid formulation is less than about 3.5 .
     2. The oral liquid formulation of claim 1 further compris pH21.ofThe           oral liquid formulation of claim 14 , wherein the
                                                                                the oral liquid formulation is between about 3 and
   ing a sweetener.                                                       about 3.5 .
      3. The oral liquid formulation of claim 2 , wherein the        22. The oral liquid formulation of claim 14 , wherein the
   sweetener is sucralose .
     4. The oral liquid formulation of claim 1 further compris 40 pH  of the oral liquid formulation is about 3.3 .
   ing a flavoring agent.                                            23.  The oral liquid formulation of claim 14 , wherein the
                                                                  formulation
     5. The oral liquid formulation of claim 1 , wherein the initial enalapril  maintains about 95 % w / w or greater of the
   formulation does not contain mannitol.                                          amount at the end of a ge period of at
                                                                  least  18 months
      6. The oral liquid formulation of claim 1 , wherein the 45 24. The oral liquidat about 5 + 3 ° C.
   formulation does not contain silicon dioxide .                                         formulation of claim 1 , wherein the
                                                                  enalapril  or a pharmaceutically
     7. The oral liquid formulation of claim 1 , wherein the thereof is enalapril maleate , and        acceptable salt or solvate
   buffer comprises about 0.8 to about 3.5 mg/ml citric acid .                                            wherein the enalapril
      8. The oral liquid formulation of claim 1 , wherein the             maleate is present in the oral liquid formulation at about 1.0
                                                                          mg/ml.
   buffer comprises about 0.1 to about 0.8 mg /ml sodium             5025. The oral liquid formulation of claim 1 , wherein the
   citrate .
      9. The oral liquid formulation of claim 1 , wherein the pH          buffer is present at a concentration between about 10 mM
   of the oral liquid formulation is less than about 3.5 .          and about 20 mM in the oral liquid formulation .
      10. The oral liquid formulation of claim 1 , wherein the pH      26. The oral liquid formulation of claim 1 , wherein the
   of the oral liquid formulation is between about 3 and about      buffer is present at a concentration of about 10 mM in the
   3.5 .                                                         55 oral liquid formulation .
      11. The oral liquid formulation of claim 1 , wherein the pH      27. The oral liquid formulation of claim 14 , wherein the
   of the oral liquid formulation is about 3.3 .                    enalapril or a pharmaceutically acceptable salt or solvate
      12. The oral liquid formulation of claim 1 , wherein the      thereof is enalapril maleate , and wherein the enalapril
   formulation maintains about 95 % w / w or greater of the mg/ml. is present in the oral liquid formulation at about 1.0
                                                                    maleate
   initial enalapril amount at the end of a storage period of at 60 28. The oral liquid formulation of claim 14 , wherein the
   least 18 months at about 5 + 3 ° C.
      13. An oral liquid formulation, consisting essentially of: buffer
                                                                    and
                                                                           is present at a concentration between about 10 mM
                                                                         about  20 mM in the oral liquid formulation .
      ( i ) about 0.6 to about 1.2 mg /ml enalapril or a pharma
           ceutically acceptable salt or solvate thereof;
